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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


In re:                                                   §        Chapter 11
                                                         §
CORE SCIENTIFIC, INC., et al.,                           §        Case No. 22-90341 (DRJ)
                                                         §
                    Debtors. 1                           §        (Jointly Administered)


    GLOBAL NOTES AND STATEMENTS OF LIMITATION, METHODOLOGY, AND
     DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
           LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Core Scientific, Inc. and its debtor affiliates, as debtors and debtors in possession in the
above-captioned chapter 11 cases (collectively, the “Debtors” or the “Company”), with the
assistance of their advisors, are filing their Schedules of Assets and Liabilities (collectively,
the “Schedules”) and Statements of Financial Affairs (collectively, the “Statements” or
“SOFAs” and, together with the Schedules, the “Schedules and Statements”) in the United
States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) pursuant
to section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007
of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

        These Global Notes and Statements of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(collectively, the “Global Notes”) pertain to, are incorporated by reference in, and comprise an
integral part of all of the Debtors’ Schedules and Statements. The Global Notes should be
referred to, considered, and reviewed in connection with any review of the Schedules and
Statements. These Global Notes are in addition to any specific notes contained in any individual
Debtor’s Schedules and Statements (together with the Global Notes, the “Notes”).

         The Schedules and Statements do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”),
nor are they intended to be fully reconciled with the financial statements of the Debtors.
Additionally, the Schedules and Statements contain unaudited information that is subject to
further review and potential adjustment and reflect the Debtors’ commercially reasonable
efforts to report the assets and liabilities of the Debtors.

        The Schedules and Statements and Global Notes should not be relied upon for
information relating to the current or future financial conditions, events, or performance of any
of the Debtors.


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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific
    Acquired Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core
    Scientific Specialty Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard
    Capital LLC (6677); RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American
    Property Acquisitions, VII, LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton
    Springs Road, Suite 300, Austin, Texas 78704.


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        The Debtors and their agents, attorneys, and financial advisors do not guarantee or
warrant the accuracy or completeness of the data that is provided herein and shall not be liable
for any loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially
reasonable efforts have been made to provide accurate and complete information herein,
inadvertent errors or omissions may exist. The Debtors and their agents, attorneys, and
financial advisors expressly do not undertake any obligation to update, modify, revise, or re-
categorize the information provided herein, or to notify any third party should the information
be updated, modified, revised, or re-categorized. In no event shall the Debtors or their agents,
attorneys, and financial advisors be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors
or their agents, attorneys, and financial advisors are advised of the possibility of such damages.

       The Schedules and Statements for the Debtors have been signed by Michael Bros, who
serves as the Debtors’ Senior Vice President of Capital Markets & Acquisitions and is an
authorized signatory of the Debtors. In reviewing and signing the Schedules and Statements,
Mr. Bros has relied upon the efforts, statements, and representations of various personnel
employed by the Debtors’ and their advisors, including the management team. Mr. Bros has
not (and could not have) personally verified the accuracy of each statement and representation
contained in the Schedules and Statements, including statements and representations
concerning amounts owed to creditors, classification of such amounts, and creditor addresses.

                             Global Notes and Overview of Methodology

1.      Reservation of Rights. Reasonable efforts have been made to prepare and file complete
        and accurate Schedules and Statements; however, inadvertent errors or omissions may
        exist. The Debtors reserve all rights to (i) amend or supplement the Schedules and
        Statements from time to time, in all respects, as may be necessary or appropriate,
        including, without limitation, the right to amend the Schedules and Statements with
        respect to the description or designation of any claim (“Claim”) or the particular
        Debtor(s) against which the Claim is asserted; (ii) dispute or otherwise assert offsets or
        defenses to any Claim reflected in the Schedules and Statements as to amount, liability,
        priority, status, or classification; and (iii) designate subsequently any Claim as
        “disputed,” “contingent,” or “unliquidated;” or (iv) object to the extent, validity,
        enforceability, priority, or avoidability of any Claim.

        Any failure to designate a Claim in the Schedules and Statements as “disputed,”
        “contingent,” or “unliquidated” does not constitute an admission by the Debtors that
        such Claim or amount is not “disputed,” “contingent,” or “unliquidated,” or that such
        Claim is not subject to objection. The Debtors reserve all of their rights to dispute, or
        assert offsets or defenses to, any Claim reflected on their Schedules and Statements on
        any grounds, including, but not limited to, amount, liability, priority, status, or
        classification. Additionally, the Debtors expressly reserve all of their rights to designate
        such Claims as “disputed,” “contingent,” or “unliquidated” at a later date. Moreover,
        listing a Claim does not constitute an admission of liability by the Debtors against which
        the Claim is listed or against any of the Debtors. Furthermore, nothing contained in the
        Schedules and Statements or Notes shall constitute a waiver of rights with respect to the
        Debtors’ chapter 11 cases, including, without limitation, issues involving Claims,


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      substantive consolidation, defenses, equitable subordination, and/or causes of action
      arising under chapter 5 of the Bankruptcy Code and any applicable non-bankruptcy laws
      to recover assets or avoid transfers.

      Any specific reservation of rights contained elsewhere in the Global Notes does not
      limit in any respect the general reservation of rights contained in this paragraph 1.

      The Debtors shall not be required to update the Schedules and Statements except as may
      be required by applicable law.

2.    Contingent Claim. A claim that is dependent on the realization of some uncertain
      future event is a “contingent” claim.

3.    Unliquidated Claim. A claim, or portion of a claim, for which a specific value could
      not be readily quantified by the Debtors using currently available information are
      scheduled as “unliquidated.”

4.    Disputed Claim. A claim with respect to which the applicable Debtor and the claimant
      disagree as to the amount owed, whether any amount is owed, or the claim classification,
      is “disputed.”

5.    Description of the Case. On December 21, 2022 (the “Petition Date”), the Debtors
      filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code in the
      Bankruptcy Court. The Debtors continue to operate their business and manage their
      properties as debtors in possession pursuant to sections 1107(a) and 1108 of the
      Bankruptcy Code.

      The Debtors’ chapter 11 cases are being jointly administered pursuant to Bankruptcy
      Rule 1015(b) and Rule 1015-1 of the Local Bankruptcy Rules for the United States
      Bankruptcy Court for the Southern District of Texas.

      On January 9, 2023, the United States Trustee for Region 7 (the “U.S. Trustee”)
      appointed an official committee of unsecured creditors (the “Creditors’ Committee”)
      in these chapter 11 cases pursuant to section 1102 of the Bankruptcy Code. No trustee
      or examiner has been appointed in these chapter 11 cases.

6.    Basis of Presentation. For financial reporting purposes, the Debtors generally prepare
      consolidated financial statements, which include information for Core Scientific, Inc.
      and its Debtor and non-Debtor affiliates. The Schedules and Statements are unaudited
      and reflect the Debtors’ reasonable efforts to report certain financial information of the
      Debtors on an unconsolidated basis.

      As more fully described in the Declaration of Michael Bros in Support of the Debtors’
      Chapter 11 Petitions and First Day Relief (Docket No. 5) (the “First Day
      Declaration”), on December 13, 2017, MineCo Holdings, Inc. was incorporated and,
      six months later, it changed its name to Core Scientific, Inc. (“Initial Core Scientific”).
      In January 19, 2022, pursuant to a “SPAC merger,” (i) Initial Core Scientific changed
      its name to Core Scientific Operating Company (“Core Operating”) and (ii) Power &
      Digital Infrastructure Acquisition Corp. changed its name to Core Scientific, Inc.
      Consequently, certain assets or liabilities attributed in the Debtors’ books and records
      to “Core Scientific, Inc.” are actually assets and liabilities of Core Operating,
      particularly those assets and liabilities pre-dating January 19, 2022. The Debtors and


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      their advisors have used reasonable efforts to attribute assets and liabilities to the proper
      Debtor entity but, to the extent more information becomes available, the Debtors reserve
      the right to amend these Schedules and Statements accordingly. Further, nothing herein
      shall constitute an admission that a particular asset or liability is property attributable to
      a particular Debtor. In certain circumstances, the entity that is party to a contract located
      in the Company’s books and records has been dissolved. Such contracts have been
      listed on the applicable Schedule for the Debtor entity making payments associated with
      such contract; this shall not constitute an admission that the Debtor making such
      payments is party to, or liable on, such contract.

      These Schedules and Statements do not purport to represent financial statements
      prepared in accordance with GAAP, nor are they intended to fully reconcile to the
      financial statements prepared by the Debtors. These Schedules and Statements reflect
      the assets and liabilities of each separate Debtor, except where otherwise indicated. The
      Debtors used reasonable efforts to attribute the assets and liabilities, certain required
      financial information, and various cash disbursements to each particular Debtor entity.
      Information contained in the Schedules and Statements has been derived from the
      Debtors’ books and records and historical financial statements. The Company accounts
      for its crypto currency assets at acquisition fair value, net of recognized impairment
      losses. The Debtors reserve all rights to supplement and amend the Schedules and
      Statements in this regard, including with respect to reallocation of assets or liabilities to
      any particular entity.

      Given, among other things, the uncertainty surrounding the collection and ownership of
      certain assets and the valuation and nature of certain liabilities, to the extent that a
      Debtor’s assets exceed its liabilities, this is not an admission that the Debtor was solvent
      as of the Petition Date or at any time prior to the Petition Date. Likewise, to the extent
      a Debtor’s liabilities exceed its assets, this is not an admission that the Debtor was
      insolvent as of the Petition Date or any time prior to the Petition Date.

7.    “As Of” Information Date. All asset information, and all liability information, except
      where otherwise noted, is reflected as of the close of business on the Petition Date. All
      year-to-date 2022 revenue is reflected as of December 21, 2022. The Schedules and
      Statements reflect the Debtors’ best effort to allocate the assets, liabilities, receipts, and
      expenses to the appropriate Debtor entity “as of” such dates. In certain instances, the
      Debtors may have used estimates or pro-rated amounts where actual data as of the
      aforementioned dates was not available.

8.    Accuracy. The financial information disclosed herein was not prepared in accordance
      with federal or state securities laws or other applicable non-bankruptcy law or in lieu of
      complying with any periodic reporting requirements thereunder. Persons and entities
      trading in or otherwise purchasing, selling, or transferring the Claims against or equity
      interests in the Debtors should evaluate this financial information in light of the
      purposes for which it was prepared. The Debtors are not liable for and undertake no
      responsibility to indicate variations from securities laws or for any evaluations of the
      Debtors based on this financial information or any other information.

9.    Current Market Value and Net Book Value. Unless otherwise indicated, the
      Schedules and Statements reflect net book values (“NBV”), rather than current market
      values, and may not reflect net realizable value. For this reason, amounts ultimately
      realized will vary, potentially materially, from NBV. Additionally, the amount of


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       certain assets and liabilities may be undetermined, and, thus, ultimate assets and
       liabilities may differ materially from those stated in the Schedules and Statements.
       Values listed in these Schedules and Statements should not solely be used to determine
       the Debtors’ enterprise valuation.

       Operating cash is presented as bank balances as of the Petition Date. Certain other
       assets, such as investments in subsidiaries, are listed at undetermined amounts, as the
       net book values may differ materially from fair market values. Amounts ultimately
       realized may vary from net book value (or whatever value was ascribed) and such
       variance may be material. Accordingly, the Debtors reserve all of their rights to amend
       or adjust the value of each asset set forth herein. In addition, the amounts shown for
       total liabilities exclude items identified as unknown or undetermined and, thus, ultimate
       liabilities may differ materially from those stated in the Schedules and Statements.

       The Debtors account for digital currency assets as intangible assets with indefinite
       useful lives. The Debtors initially recognize digital currency assets that are received as
       digital asset mining income based on the fair value of the digital currency assets when
       mined. Digital currency assets that are purchased in an exchange of one digital currency
       asset for another digital currency asset are recognized at the fair value of the digital
       currency asset received. During the period they are held, digital currency assets are
       impaired for a loss to the lowest observed exchange price, to date, in their primary
       market. The Debtors recognize realized gains or losses when digital currency assets are
       sold in an exchange for other digital currency assets or for cash using a first-in first-out
       method of accounting at the entity level.

       The Debtors do not amortize goodwill but test it for impairment annually or more
       frequently if events or changes in circumstances indicate that the carrying value of
       goodwill may not be recoverable. During the year ended December 31, 2022, the
       Debtors impaired all $1.05 billion of their previously acquired goodwill.

10.    Liabilities. The Debtors have sought to allocate liabilities between the prepetition and
       postpetition periods based on the information and research conducted in connection with
       the preparation of the Schedules and Statements. As additional information becomes
       available and further research is conducted, the allocation of liabilities between the
       prepetition and postpetition periods may change. Accordingly, the Debtors reserve all
       of their rights to amend, supplement, or otherwise modify the Schedules and Statements,
       as is necessary or appropriate.

       The liabilities listed on the Schedules do not reflect all possible Claims under section
       503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights
       to dispute or challenge the validity of any Claims asserted under section 503(b)(9) of
       the Bankruptcy Code or the characterization of the structure of any such transaction or
       any document or instrument related to any creditor’s Claim. Although there are multiple
       holders of debt under the Debtors’ prepetition funded indebtedness, only the
       administrative agent(s), indenture trustee(s), or similar representative(s), as applicable,
       have been listed in the Schedules.

11.    Classification and Recharacterization. Listing (i) a Claim on Schedule D as
       “secured,” (ii) a Claim on Schedule E/F as “priority,” (iii) a Claim on Schedule E/F as
       “unsecured,” or (iv) a contract or lease on Schedule G as “executory” or “unexpired,”
       does not constitute an admission by the Debtors of the legal rights of the claimant or a


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       waiver of the Debtors’ rights to re-characterize or reclassify such Claims, contracts, or
       leases or to setoff such Claims. Notwithstanding the Debtors’ commercially reasonable
       efforts to characterize, classify, categorize, or designate properly certain Claims, assets,
       executory contracts, unexpired leases, and other items reported in the Schedules and
       Statements, the Debtors may nevertheless have improperly characterized, classified,
       categorized, designated, or omitted certain items due to the complexity and size of the
       Debtors’ business. Accordingly, the Debtors reserve all of their rights to re-
       characterize, reclassify, re-categorize, re-designate, add, or delete items reported in the
       Schedules and Statements at a later time as is necessary or appropriate as additional
       information becomes available, including, without limitation, whether contracts or
       leases listed herein were deemed executory or unexpired as of the Petition Date and
       remain executory and unexpired postpetition. Disclosure of information in one or more
       Schedules, one or more Statements, or one or more exhibits or attachments to the
       Schedule and Statements, even if incorrectly placed, shall be deemed to be disclosed in
       the correct Schedules, Statements, exhibits or attachments.

       Moreover, nothing in the Schedules and Statements is, or shall be construed to be, an
       admission as to the determination of the legal status of any lease or financing
       arrangement (including whether any lease or financing arrangement is a true lease, a
       financing arrangement or a real property interest), and the Debtors reserve all rights with
       respect to such issues.

12.    Excluded Assets and Liabilities. The Debtors have excluded certain categories of
       assets, tax accruals, and liabilities from the Schedules and Statements, including,
       without limitation, accrued salaries, employee benefit accruals, and accrued accounts
       payable. The Debtors have also excluded rejection damage Claims of counterparties to
       executory contracts and unexpired leases that may or may not be rejected, to the extent
       such damage Claims exist. In addition, certain immaterial assets and liabilities may
       have been excluded.

13.    Bankruptcy Court Orders. Pursuant to certain orders of the Bankruptcy Court entered
       in the Debtors’ chapter 11 cases (the “First Day Orders”), the Debtors were authorized
       (but not directed) to pay, among other things, certain prepetition claims of their
       employees, taxing authorities, insurers, critical vendors, and certain other prepetition
       creditors. Accordingly, these liabilities will have been or may be satisfied in accordance
       with such orders and therefore generally are not listed in the Schedules and Statements.

14.    Zero Dollar Amounts.         Amounts listed as zero are either $0, unliquidated, or
       undetermined.

15.    Summary of Amounts and Claims Reporting Policies. The following is a summary
       of significant reporting policies:

       •      Undetermined and Unknown Amounts. The description of an amount as
              “undetermined” or “unknown” is not intended to reflect upon the materiality of
              such amount.

       •      Totals. All totals that are included in the Schedules and Statements represent
              totals of all the known amounts included in the Schedules and Statements. To
              the extent there are unknown or undetermined amounts, the actual total may be
              different than the total listed.


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       •      Paid Claims. The Debtors were authorized (but not directed) to pay certain
              outstanding prepetition claims pursuant to various First Day Orders entered by
              the Bankruptcy Court. The Debtors reserve all of their rights to amend or
              supplement the Schedules and Statements or take other action as is necessary or
              appropriate to avoid overpayment of, or duplicate payments for, any such
              liabilities.

       •      Liens. Property and equipment listed in the Schedules and Statements are
              presented without consideration of any liens that may attach (or have attached)
              to such property and equipment.

16.    Intellectual Property Rights. Exclusion of certain intellectual property should not be
       construed to be an admission that such intellectual property rights have been abandoned,
       have been terminated or otherwise have expired by their terms, or have been assigned
       or otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
       inclusion of certain intellectual property should not be construed to be an admission that
       such intellectual property rights have not been abandoned, have not been terminated or
       otherwise expired by their terms, or have not been assigned or otherwise transferred
       pursuant to a sale, acquisition, or other transaction. The Debtors have made every effort
       to attribute intellectual property to the rightful Debtor owner; however, in some
       instances, intellectual property owned by one Debtor may, in fact, be owned by another.
       Accordingly, the Debtors reserve all of their rights with respect to the legal status of any
       and all intellectual property rights.

17.    Executory Contracts. Although diligent efforts have been made to reflect each
       Debtor’s executory contracts on Schedule G accurately, inadvertent errors, omissions,
       or over-inclusions may have occurred. Certain information, such as the contact
       information of the counterparty, may not be included where such information could not
       be obtained using the Debtors’ reasonable efforts. Listing a contract or agreement on
       Schedule G does not constitute an admission that such contract or agreement is an
       executory contract or that such contract or agreement was in effect on the Petition Date
       or is valid or enforceable. The Debtors do not make, and specifically disclaim, any
       representation or warranty as to the completeness or accuracy of the information set
       forth on Schedule G.

       Although the Debtors made diligent attempts to attribute an executory contract to its
       rightful Debtor, in certain instances, the Debtors may have inadvertently failed to do so.
       Accordingly, the Debtors reserve all of their rights with respect to the named parties to
       any and all executory contracts, including the right to amend Schedule G.

       The Debtors reserve all their rights, Claims, and causes of action with respect to the
       executory contracts, including the right to dispute or challenge the characterization of
       any contract on Schedule G as executory or the structure of any transaction or any
       document or instrument related to a creditor’s Claim.

18.    Leases. The Debtors may enter into agreements titled as leases for equipment or other
       real property interests. The underlying lease agreements are set forth in the Schedules
       and Statements in Schedule G.

       Although diligent efforts have been made to accurately reflect each Debtor’s unexpired


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       leases on Schedule G, inadvertent errors, omissions, or over-inclusions may have
       occurred. Certain information, such as the contact information of the counterparty, may
       not be included where such information could not be obtained using the Debtors’
       reasonable efforts. Listing a lease on Schedule G does not constitute an admission that
       such lease is a true unexpired lease or that such lease was in effect on the Petition Date
       or is valid or enforceable. The Debtors do not make, and specifically disclaim, any
       representation or warranty as to the completeness or accuracy of the information set
       forth on Schedule G.

       Nothing in the Schedules and Statements is, or shall be construed to be, an admission
       as to the determination of the legal status of any lease (including whether any lease is a
       true lease, a financing arrangement or a real property interest), and the Debtors reserve
       all rights with respect to such issues.

19.    Liens and Mechanic Liens. Property and equipment listed in the Schedules and
       Statements are presented without consideration of any liens, including any asserted
       mechanics’, materialmen, or similar liens that may attach (or have attached) to such
       property and equipment. Nothing in the Schedules and Statements is or should be
       construed as an admission as to the determination of the legal status of any liens, and
       the Debtors reserve all rights with respect to same.

20.    Owned Property and Equipment. Unless otherwise indicated, owned property
       (including real property) and equipment are stated at net book value. The Debtors here
       by reserve all of their rights to sell or lease any property. The Debtors reserve their
       rights to lease furniture, fixtures, and equipment from certain third party lessors.

21.    Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

22.    Contingent Assets. Prior to the relevant Petition Date, each Debtor, as plaintiff, may
       have commenced various lawsuits in the ordinary course of its business against third
       parties seeking monetary damages. Each Debtor’s Schedule A/B, Question 74 contains
       a listing of these actions, as applicable.

23.    Litigation. Certain litigation actions (collectively, the “Litigation Actions”) reflected
       as Claims against a particular Debtor may relate to one or more of the Debtors. The
       Debtors made reasonable efforts to record accurately the Litigation Actions in the
       Schedules and Statements of the Debtor that is the party to the Litigation Action. The
       inclusion of any Litigation Action in the Schedules and Statements does not constitute
       an admission by the Debtors of liability, the validity of any Litigation Action, or the
       amount and treatment of any potential Claim that may result from any Litigation Action
       currently pending or that may arise in the future. As the Debtors continue to operate
       their business, additional Litigation Actions may arise as a result thereof. Accordingly,
       the Debtors reserve all rights to amend, supplement, or otherwise modify the Schedules
       and Statements, as is necessary or appropriate.

24.    Causes of Action. Despite making commercially reasonable efforts to identify all
       known assets, the Debtors may not have listed all of their causes of action or potential
       causes of action against third parties as assets in the Schedules and Statements,
       including, without limitation, causes of actions arising under the provisions of chapter
       5 of the Bankruptcy Code and any other relevant non-bankruptcy laws to recover assets
       or avoid transfers. The Debtors reserve all of their rights with respect to any cause of


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       action (including avoidance actions), controversy, right of setoff, cross-claim,
       counterclaim, or recoupment and any Claim on contracts or for breaches of duties
       imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit,
       obligation, liability, damage, judgment, account, defense, power, privilege, license, and
       franchise of any kind or character whatsoever, known, unknown, fixed or contingent,
       matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed
       or undisputed, secured or unsecured, or assertable directly or derivatively, whether
       arising before, on, or after the Petition Date, in contract or in tort, in law or in equity, or
       pursuant to any other theory of law (collectively, “Causes of Action”) they may have,
       and neither these Global Notes nor the Schedules and Statements shall be deemed a
       waiver of any Claims or Causes of Action or in any way prejudice or impair the assertion
       of such Claims or Causes of Action.

25.    Intercompany Payables and Receivables. Intercompany receivables and payables are
       set forth on Schedules A/B and E/F, respectively. The listing by the Debtors of any
       account between a Debtor and another affiliate, including between the Debtor and any
       disregarded or non-Debtor affiliate, is a statement of what appears in the Debtors’ books
       and records and does not reflect any admission or conclusion of the Debtors regarding
       the allowance, classification, characterization, validity, or priority of such account. The
       Debtors take no position in these Schedules and Statements as to whether such accounts
       would be allowed as a Claim or interest, or not allowed at all. The Debtors and all
       parties in interest reserve all rights with respect to such accounts. Further information
       regarding the Debtors’ intercompany transactions is set forth in the Debtors’ Emergency
       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to
       (A) Continue Their Existing Cash Management System, (B) Maintain Existing Business
       Forms and Intercompany Arrangements, (C) Continue Intercompany Transactions, and
       (D) Continue Utilizing Employee Credit Cards, and (II) Granting Related Relief
       (Docket No. 12) (the “Cash Management Motion”).

26.    Employee Claims. The Bankruptcy Court entered a final order granting authority, but
       not requiring, the Debtors to pay prepetition employee wages, salaries, benefits, and
       other related obligations. With the exception of any prepetition severance and paid time
       off obligations that are still owing under the Debtors’ policies and applicable non-
       bankruptcy law, as applicable, the Debtors currently expect that most prepetition
       employee Claims for wages, salaries, benefits, and other related obligations either have
       been paid or will be paid in the ordinary course of business and, therefore, the Schedules
       and Statements do not include such Claims. The Debtors have not listed their regular
       payroll disbursements and employee expense reimbursements in Question 3 for the
       Statements.

27.    Insiders. The Debtors have attempted to include all payments made over the 12 months
       preceding the Petition Date to any party deemed an “insider.” For purposes of the
       Schedules and Statements, the Debtors defined “insiders” as such term is defined in
       section 101(31) of the Bankruptcy Code. Persons listed as “insiders” have been
       included for informational purposes only and the inclusion of them in the Schedules and
       Statements shall not constitute an admission that such persons are insiders for purposes
       of section 101(31) of the Bankruptcy Code. Moreover, the Debtors do not take any
       position with respect to: (i) any insider’s influence over the control of the Debtors; (ii)
       the management responsibilities or functions of any such insider; (iii) the decision-
       making or corporate authority of any such insider; or (iv) whether the Debtors or any



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       such insider could successfully argue that he or she is not an “insider” under applicable
       law or with respect to any theories of liability or for any other purpose.

28.    Employee Addresses. Current employee and director addresses have been reported as
       the Debtors’ business address throughout the Schedules and Statements, where
       applicable.

29.    Confidential or Sensitive Information. There may be instances where certain
       information was not included or redacted due to the nature of an agreement between a
       Debtor and a third party, concerns about the confidential or commercially sensitive
       nature of certain information, or concerns for the privacy of an individual. Any
       alterations will be limited to only what is necessary to protect the Debtor or third party
       and will provide interested parties with sufficient information to discern the nature of
       the listing.

30.    Fiscal Year. The Debtors operate on a calendar year basis. Unless otherwise indicated,
       all references to “annual,” “annually,” “year,” “years,” or an otherwise similar length of
       time are presumed to refer to a period of time in accordance with the Debtors’ fiscal
       year. Each Debtor’s fiscal year ends on December 31.

31.    Specific Notes. These Global Notes are in addition to the specific notes set forth below
       and in the Schedules and Statements of the individual Debtor entities. The fact that the
       Debtors have prepared a Global Note with respect to a particular Schedule or Statement
       and not as to others does not reflect and should not be interpreted as a decision by the
       Debtors to exclude the applicability of such Global Note to any or all of the Debtors'
       remaining Schedules or Statements, as appropriate. Disclosure of information in one
       Schedule, one Statement, or an exhibit or attachment to a Schedule or Statement, even
       if incorrectly placed, shall be deemed to be disclosed in the correct Schedule, Statement,
       exhibit, or attachment. In the event that the Schedules or Statements differ from any of
       the foregoing Global Notes, the Global Notes shall control.




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                Specific Disclosures with Respect to the Debtors’ Schedules

        The Schedules do not purport to represent financial statements prepared in accordance
with GAAP, nor are they intended to be fully reconciled with the financial statements of the
Debtors. Additionally, the Schedules contain unaudited information that is subject to further
review and potential adjustment, and reflect the Debtors’ reasonable best efforts to report the
assets and liabilities of the Debtors. Moreover, given, among other things, the uncertainty
surrounding the collection and ownership of certain assets and the valuation and nature of
certain liabilities, to the extent that the Debtors show more assets than liabilities, this is not an
admission that the Debtors were solvent as of the Petition Date or at any time before the Petition
Date. Likewise, to the extent the Debtors show more liabilities than assets, this is not an
admission that the Debtors were insolvent as of the Petition Date or at any time before the
Petition Date. Values listed in these Schedules and Statements should not be used to determine
the Debtors’ enterprise valuation.

1.      Schedule A/B, Part 1, Questions 2–4.

        Cash and cash equivalents are as of the Petition Date.

        For more information on the Debtors’ cash management system, please refer to the
        Cash Management Motion.

2.      Schedule A/B, Part 2, Question 8.

        Certain prepaid or amortized assets are listed in Part 2 in accordance with the Debtors’
        books and records. The amounts listed in Part 2 do not necessarily reflect assets that
        the Debtors will be able to collect or realize. The amounts listed in Part 2 include,
        among other things, utility deposits, prepaid subscriptions, construction, rent and other
        prepayments.

3.      Schedule A/B, Part 4, Question 14.

        Ownership interests in subsidiaries and affiliates primarily arise from common stock
        ownership or member or partnership interests. Unless otherwise listed in the Schedules,
        the Debtors’ respective ownership interests in subsidiaries are listed in Schedule A/B,
        Part 4 as undetermined amounts because the fair market value of such interests is
        dependent on numerous variables and factors and may differ significantly from the
        NBV.

        For more information concerning the Debtors’ organizational structure, please refer to
        the organization chart annexed to the First Day Declaration and the discussion therein.

        Cryptocurrencies are reported in question 14, “Investments - Mutual funds or publicly
        traded stocks not included in Part 1”.

4.      Schedule A/B, Part 8, Questions 46–53.
        Includes vehicles, miners, network equipment, servers, switchboards, transformers,
        and other equipment.




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5.    Schedule A/B, Part 9, Questions 55–58.

      Where possible, the Debtors have provided the NBV on a property-by-property basis
      rather than current market values, which value may not reflect the net realizable value.
      For this reason, amounts ultimately realizable upon a sale will vary, potentially
      materially, from NBV, and the NBV listed shall not be construed as current or fair
      market value of such property. The Debtors considered both owned real property and
      ground leases to which the respective Debtor is a lessee in responding to Schedule A/B,
      Questions 55–58. In addition, the real property leases to which a Debtor is a lessee or
      lessor are listed in Schedule G. To the extent any interest in such leases is listed on
      Schedule G but not Schedule A/B, such interests are incorporated into Schedule A/B,
      Questions 55–58 by reference.

6.    Schedule A/B, Part 11, Question 72.

      The Debtors’ response to the schedule questionnaire is indicative of the gross non-tax
      effected net operating loss (“NOL”) values as compared to the GAAP net deferred tax
      assets associated with such NOLs. The actual dollar impact of how these NOLs affect
      future taxable income is dependent upon, among other things, the timing, character, and
      amount of any future or previous years’ (provided NOLs are allowed to be carried back)
      income to which they can be applied. Amounts also do not reflect the consideration of
      any valuation allowances recorded pursuant to GAAP, which have the effect of reducing
      associated deferred tax assets. Additionally, the NOLs listed in Schedule A/B, Question
      72 reflect the amounts listed in the Debtors’ books and records, may reflect NOLs
      accumulated for more than one tax year, and may be subject to expiration or limitations
      on usability now or in the future.

      For further information regarding NOLs and other of the Debtors’ tax attributes, please
      refer to the Emergency Motion of the Debtors Pursuant to Sections 362 and 105(a) of
      the Bankruptcy Code for Interim and Final Orders Establishing Notification
      Procedures and Approving Restrictions On (A) Certain Transfers of Interests in the
      Debtors, and (B) Claiming of Certain Worthless Stock Deductions (Docket No. 7)
      (the “NOL Motion”). Any description of such tax attributes contained herein is
      qualified by the NOL Motion in all respects.

7.    Schedule D.

      Except as otherwise ordered by the Bankruptcy Court, the Debtors reserve their rights
      to dispute or challenge the validity, perfection, or immunity from avoidance of any lien,
      including mechanics’ or similar liens, purported to be granted or perfected in any
      specific asset for the benefit of a secured creditor listed on a Debtor’s Schedule D.
      Moreover, although the Debtors may have scheduled Claims of various creditors as
      secured Claims, the Debtors reserve all rights to dispute or challenge the secured nature
      of any such creditor’s Claim or the characterization of any such transaction or any
      document or instrument (including without limitation, any intercompany agreement)
      related to such creditor’s Claim. To that end, the Debtors take no position as to the
      extent or priority of any particular creditor’s lien in the Schedules and Statements.

      With respect to those certain (i) secured convertible notes issued pursuant to that certain
      Secured Convertible Note Purchase Agreement, dated as of April 19, 2021 (as may be


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 amended, restated, amended and restated, supplemented, or otherwise modified from
 time to time, and including all related credit documents, and the notes issued thereunder,
 the “April Convertible Notes”) and/or (ii) secured convertible notes issued pursuant to
 that certain Secured Convertible Note Purchase Agreement, dated on or about August
 20, 2021 (as may be amended, restated, amended and restated, supplemented, or
 otherwise modified from time to time, and including all related credit documents, and
 the notes issues thereunder, the “August Convertible Notes”, and collectively with the
 April Secured Convertible Notes, the “Convertible Notes”), the Debtors have listed
 only the note/collateral agent as the named creditor on Schedule E/F. Nonetheless, the
 Convertible Notes are beneficially owned by a number of other parties, which are not
 listed individually on Schedule E/F. Further, as noted on the organizational chart
 annexed to the First Day Declaration, certain Debtors are guarantors of the Convertible
 Notes. The Debtors have included the Convertible Notes on Schedule E/F of Core
 Scientific, Inc., the issuer of the Convertible Notes and on the relevant Debtors’
 schedules that are guarantors of the Convertible Notes. Nothing herein or in the
 Schedules or Statements is intended to be deemed an admission or allowance by the
 Debtors regarding the amount of any Claims arising from the Convertible Notes.

 The Debtors are party to various equipment financing agreements (collectively,
 the “Equipment Financings”), which the Debtors have included on Schedule D of the
 obligor for each Equipment Financing. As stated above, unless otherwise indicated,
 Equipment Financing Claim amounts are scheduled at outstanding principal amounts as
 of Petition Date. Nothing in the Schedules and Statements is or should be construed as
 an admission as to the determination of the legal status of any Equipment Financing,
 including the validity or amount of any lien in connection therewith, and the Debtors
 reserve all rights with respect thereto. Furthermore, the inclusion of an Equipment
 Financing on Schedule D shall not constitute an admission as to the value of any
 collateral securing such Equipment Financing or any deficiency Claim relating thereto.

 The Debtors are party to certain agreements titled as leases for cryptocurrency miners
 and other non-miner equipment (collectively, the “Equipment Leases”). Any known
 prepetition obligations of the Debtors pursuant to the Equipment Leases have been listed
 on Schedule D or Schedule E/F, as applicable. The underlying Equipment Lease
 agreements are listed on Schedule G. Nothing in the Schedules and Statements is or
 should be construed as an admission as to the determination of the legal status of any
 Equipment Lease, including the characterization of an Equipment Lease as a lease or an
 equipment financing, and the Debtors reserve all rights with respect thereto. The
 Debtors reserve all rights to dispute the secured status (or the validity of any asserted
 lien) of any Equipment Lease and all rights related thereto are expressly reserved.

 The Debtors further reserve the right to challenge the secured status of any liability.
 Characterizing a liability, including an Equipment Financing, as “secured,” shall not
 constitute an admission as to the validity of any asserted lien or amount thereof.

 Nothing herein or in the Schedules or Statements is intended to be deemed an admission
 of liability by the Debtors with respect to any ongoing or future litigation relating to the
 indebtedness listed on Schedule D.

 The descriptions provided in Schedule D are intended only to be a summary. Reference
 to the applicable underlying documents is necessary for a complete description of the



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      collateral and the nature, extent, and priority of any liens. Nothing in these Notes or the
      Schedules and Statements shall be deemed a modification or interpretation of the terms
      of such agreements.

      Except as specifically stated herein, real property lessors, equipment lessors, utility
      companies, and other parties that may hold security deposits have not been listed on
      Schedule D. The Debtors have not included parties that may believe their Claims are
      secured through setoff rights or inchoate statutory lien rights, including certain parties
      from which the Debtors have received lien notices but whose notices the Debtors
      understand have not yet been filed or recorded. While reasonable efforts have been
      made, determination of the date upon which each Claim in Schedule D was incurred or
      arose may be unduly burdensome or cost prohibitive in some instances and, therefore,
      the Debtors may not list a date for each Claim listed on Schedule D.

      While reasonable efforts have been made, certain guarantors of the debts listed on
      Schedule D may have been inadvertently excluded. The Debtors reserve all of their
      rights to amend or supplement Schedule D as necessary or appropriate.

      For purposes of Schedule D, the Debtors have included the principal amounts
      outstanding. Amounts listed on Schedule D should not be used to determine the amount
      of an alleged secured claim or the value of the underlying collateral, which may be
      disputed.

8.    Schedule E/F, Part 1.

      The Claims listed on Schedule E/F, Part 1 arose and were incurred on various dates; a
      determination of the date upon which each Claim arose or was incurred would be unduly
      burdensome and cost prohibitive. Accordingly, not all such dates are included for each
      Claim. To the best of the Debtors’ knowledge, all Claims listed on Schedule E/F arose
      or were incurred before the Petition Date.

      The Debtors have not listed certain wage, or wage-related, obligations that the Debtors
      have paid pursuant to First Day Orders on Schedule E/F. The Debtors reserve the right
      to dispute or challenge whether creditors listed on Schedule E/F are entitled to priority
      status pursuant to sections 503 and/or 507 of the Bankruptcy Code.

      Claims owing to various taxing authorities to which the Debtors potentially may be
      liable are included on the Debtors’ Schedule E/F. Certain of such Claims, however,
      may be subject to ongoing audits and/or the Debtors otherwise may be unable to
      determine with certainty the amount of the remaining Claims listed on Schedule E/F.
      Therefore, where applicable, the Debtors have listed such Claims as contingent,
      disputed, and/or unliquidated, pending final resolution of ongoing audits or other
      outstanding issues. The Debtors reserve the right to assert that any Claim listed on
      Schedule E/F does not constitute a priority Claim under the Bankruptcy Code.

9.    Schedule E/F, Part 2.

      The Debtors have exercised commercially reasonable efforts to list all liabilities on
      Schedule E/F of each applicable Debtor. As a result of the Debtors’ consolidated




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 operations, however, the reader should review Schedule E/F for all Debtors in these
 cases for a more complete understanding of the unsecured debts of the Debtors.

 Certain creditors listed on Schedule E/F may owe amounts to the Debtors, and, as such,
 the Debtors may have valid setoff and recoupment rights with respect to such amounts.
 The amounts listed on Schedule E/F may not reflect any such right of setoff or
 recoupment, and the Debtors reserve all rights to assert the same and to dispute and
 challenge any setoff and/or recoupment rights that may be asserted against the Debtors
 by a creditor.

 Additionally, certain creditors may assert mechanics’, materialman’s, or other, similar
 liens against the Debtors for amounts listed on Schedule E/F. The Debtors reserve their
 rights to dispute and challenge the validity, perfection, and immunity from avoidance
 of any lien purported to be perfected by a creditor listed on Schedule E/F of any Debtor.
 In addition, certain Claims listed on Schedule E/F (Part 2) may be entitled to priority
 under section 503(b)(9) of the Bankruptcy Code.

 Schedule E/F also contains information regarding pending litigation involving the
 Debtors. In certain instances, the relevant Debtor that is the subject of the litigation is
 unclear or undetermined. To the extent that litigation involving a particular Debtor has
 been identified, however, such information is included on that Debtor’s Schedule E/F.
 The amounts for these potential Claims are listed as undetermined and marked as
 contingent, unliquidated, and disputed in the Schedules. Additionally, certain pending
 or potential litigation and Claims listed in Schedule E/F involve individual claimants.

 Current employee and director addresses have been reported as the Debtors’ business
 address throughout the Schedules and Statements.

 The Claims of individual creditors for, among other things, goods, products, services,
 or taxes are listed as the amounts entered on the Debtors’ books and records and may
 not reflect credits, allowances, or other adjustments due from such creditors to the
 Debtors. The Debtors reserve all of their rights with regard to such credits, allowances,
 and other adjustments, including the right to assert Claims objections and/or setoffs with
 respect to the same.

 The aggregate net intercompany payable amounts listed in Schedule E/F may or may
 not result in allowed or enforceable Claims by or against a given Debtor, and listing
 these payables is not an admission on the part of the Debtors that the intercompany
 Claims are enforceable or collectable. The intercompany payables also may be subject
 to recoupment, netting, or other adjustments made pursuant to intercompany policies
 and arrangements not reflected in the Schedules.

 As noted, the Bankruptcy Court has authorized the Debtors to pay, in their discretion,
 certain unsecured prepetition Claims, pursuant to the First Day Orders. To the extent
 practicable, each Debtor’s Schedule E/F is intended to reflect the balance as of the
 Petition Date, adjusted for postpetition payments of some or all of the Bankruptcy Court
 approved payments. Each Debtor’s Schedule E/F will reflect some of the Debtor’s
 payments of certain Claims pursuant to the First Day Orders, and, to the extent an
 unsecured Claim has been paid or may be paid, it is possible such Claim is not included
 on Schedule E/F. Certain Debtors may pay additional Claims listed on Schedule E/F


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       during these chapter 11 cases pursuant to these and other orders of the Bankruptcy Court
       and the Debtors reserve all of their rights to update Schedule E/F to reflect such
       payments or to modify the claims register to account for the satisfaction of such Claim.

       Additionally, Schedule E/F does not include potential rejection damage Claims, if any,
       of the counterparties to executory contracts and unexpired leases that have been, or may
       be, rejected. Furthermore, Schedule E/F does not include any deficiency Claims relating
       to liabilities listed on Schedule D, including Equipment Financings.

10.    Schedule G.

       While the Debtors’ existing books, records, and financial systems have been relied upon
       to identify and schedule executory contracts on each Debtor’s Schedule G, and while
       the Debtors have devoted substantial internal and external resources to identifying and
       providing the requested information for as many executory contracts as possible and to
       ensuring the accuracy of Schedule G, inadvertent errors, omissions, or over-inclusions
       may have occurred. The Debtors do not make, and specifically disclaim, any
       representation or warranty as to the completeness or accuracy of the information set
       forth on Schedule G. The Debtors reserve all of their rights to dispute the validity,
       status, or enforceability of any contract, agreement, or lease set forth in Schedule G and
       to amend or supplement Schedule G as necessary. Certain contracts, agreements, and
       leases listed on Schedule G may have expired or may have been modified, amended, or
       supplemented from time to time by various amendments, restatements, waivers,
       estoppel certificates, letters, memoranda, and other documents, instruments, and
       agreements that may not be listed therein despite the Debtors’ use of reasonable efforts
       to identify such documents. In addition, certain nondisclosure agreements and/or other
       confidential information have been omitted. The Debtors reserve all of their rights with
       respect to such agreements. Further, unless otherwise specified on Schedule G, each
       executory contract or unexpired lease listed thereon shall be deemed to include all
       exhibits, schedules, riders, modifications, declarations, amendments, supplements,
       attachments, restatements, or other agreements made directly or indirectly by any
       agreement, instrument, or other document that in any manner affects such executory
       contract or unexpired lease, without respect to whether such agreement, instrument, or
       other document is listed thereon.

       In some cases, the same supplier or provider appears multiple times on Schedule G.
       This multiple listing is intended to reflect distinct agreements between the applicable
       Debtor and such supplier or provider.

       The Debtors are party to certain agreements titled as leases for cryptocurrency miners
       and other non-miner equipment (collectively, the “Equipment Leases”). Any known
       prepetition obligations of the Debtors pursuant to the Equipment Leases have been listed
       on Schedule D or Schedule E/F, as applicable. The underlying Equipment Lease
       agreements are listed on Schedule G. Nothing in the Schedules and Statements is or
       should be construed as an admission as to the determination of the legal status of any
       Equipment Lease, including the characterization of an Equipment Lease as a lease or an
       equipment financing, and the Debtors reserve all rights with respect thereto. The
       Debtors reserve all rights to dispute the secured status (or the validity of any asserted
       lien) of any Equipment Lease and all rights related thereto are expressly reserved.




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 In the ordinary course of business, the Debtors may have issued numerous purchase
 orders for supplies, product, and related items, which, to the extent such purchase orders
 constitute executory contracts, are not listed individually on Schedule G. To the extent
 that goods were delivered under purchase orders prior to the Petition Date, vendors’
 Claims with respect to such delivered goods are included on Schedule E/F. Similarly,
 in the ordinary course of business, the Debtors may have issued numerous statements
 of work or similar documents for services, which, to the extent such statements of work
 or similar documents constitute executory contracts, are not listed individually on
 Schedule G. To the extent services were delivered under statements of work prior to
 the Petition Date, vendors’ Claims with respect to such services are included on
 Schedule E/F.

 As a general matter, certain of the Debtors’ executory contracts and unexpired leases
 could be included in more than one category. In those instances, one category has been
 chosen to avoid duplication. Further, the designation of a category is not meant to be
 wholly inclusive or descriptive of the entirety of the rights or obligations represented by
 such contract.

 Certain of the executory contracts and unexpired leases listed on Schedule G may
 contain certain renewal options, guarantees of payment, options to purchase, rights of
 first refusal, right to lease additional space, and other miscellaneous rights. Such rights,
 powers, duties, and obligations are not set forth separately on Schedule G. In addition,
 the Debtors may have entered into various other types of agreements in the ordinary
 course of their business, such as easements, rights of way, subordination,
 nondisturbance,        and     attornment     agreements,     supplemental      agreements,
 amendments/letter agreements, title agreements, employment-related agreements, and
 confidentiality and non-disclosure agreements. Such documents may not be set forth in
 Schedule G.

 The Debtors reserve all of their rights, Claims, and causes of action with respect to the
 contracts and agreements listed on Schedule G, including the right to dispute or
 challenge the characterization or the structure of any transaction, document, or
 instrument related to a creditor’s Claim, to dispute the validity, status, or enforceability
 of any contract, agreement, or lease set forth in Schedule G, and to amend or supplement
 Schedule G as necessary. Inclusion of any agreement on Schedule G does not constitute
 an admission that such agreement is an executory contract or unexpired lease and the
 Debtors reserve all rights in that regard, including, without limitation, that any
 agreement is not executory, has expired pursuant to its terms, or was terminated
 prepetition.

 In addition, certain of the agreements listed on Schedule G may be in the nature of
 conditional sales agreements or secured financings. The presence of a contract or
 agreement on Schedule G does not constitute an admission that such contract or
 agreement is an executory contract or unexpired lease. The Debtors reserve all of their
 rights, claims, and causes of action with respect to the contracts and agreements listed
 on Schedule G, including the right to dispute or challenge the characterization or the
 structure of any transaction, or any document or instrument (including, without
 limitation, any intercreditor or intercompany agreement) related to a creditor’s Claim.
 Certain of the contracts, agreements, and leases listed on Schedule G may have been
 entered into by more than one of the Debtors. Further, the specific Debtor obligor to


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      certain of the executory contracts or unexpired leases could not be specifically
      ascertained in every circumstance. In such cases, the Debtors used their best efforts to
      determine the correct Debtor’s Schedule G on which to list such executory contract or
      unexpired lease.

      In the ordinary course of business, the Debtors have entered into numerous contracts or
      agreements, both written and oral, regarding the provision of certain services on a
      month-to-month basis. To the extent such contracts or agreements constitute executory
      contracts, these contracts and agreements may not be listed individually on Schedule G.

      Certain of the executory contracts may not have been memorialized and could be subject
      to dispute; executory agreements that are oral in nature have not been included in
      Schedule G.

      Certain of the executory contracts and unexpired leases listed in Schedule G may have
      been assigned to, assumed by, or otherwise transferred to certain of the Debtors in
      connection with, among other things, acquisitions by the Debtors. The Debtors used
      their best efforts to determine the correct Debtor’s Schedule G on which to list such
      executory contract or unexpired lease.

      The Debtors generally have not included on Schedule G any insurance policies, the
      premiums for which have been prepaid. In the event that the Bankruptcy Court were to
      ever determine that any such prepaid insurance policies are executory contracts, the
      Debtors reserve all of their rights to amend Schedule G to include such policies, as
      necessary or appropriate. A description of the Debtors’ insurance policies and insurance
      programs is included in the Emergency Motion of Debtors for Entry of Interim and Final
      Orders (I) Authorizing Debtors to (A) Continue Insurance Programs and Surety Bonds,
      and (B) Pay Certain Obligations with Respect Thereto; (II) Granting Relief from
      Automatic Stay with Respect to Workers’ Compensation Claims; and (III) Granting
      Related Relief (Docket No. 13) (the “Insurance Motion”) and the exhibits attached
      thereto.

             Specific Disclosures with Respect to the Debtors’ Statements

1.    SOFA Part 2, Question 3.

      Severance for non-insiders is not considered regular employee compensation and is
      included.

2.    SOFA Part 2, Question 4.

      Includes payments to legal entities, including individuals and affiliates.

      For purposes of the Schedules and Statements, the Debtors defined “insiders” as such
      term is defined in section 101(31) of the Bankruptcy Code. Persons listed as “insiders”
      have been included for informational purposes only and the inclusion of them in the
      Schedules and Statements shall not constitute an admission that such persons are
      insiders for purposes of section 101(31) of the Bankruptcy Code. Moreover, the Debtors
      do not take any position with respect to: (i) any insider’s influence over the control of
      the Debtors; (ii) the management responsibilities or functions of any such insider; (iii)



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      the decision-making or corporate authority of any such insider; or (iv) whether the
      Debtors or any such insider could successfully argue that he or she is not an “insider”
      under applicable law or with respect to any theories of liability or for any other purpose.
      Entities listed as “insiders” have been included for informational purposes and their
      inclusion shall not constitute an admission that those entities are insiders for purposes
      of section 101(31) of the Bankruptcy Code. As stated above, the listing of a party as an
      insider in the Schedules and Statements, is not intended to be, nor shall be, construed as
      a legal characterization or determination of such party as an actual insider and does not
      act as an admission of any fact, claim, right or defense, and all such rights, claims, and
      defenses are hereby expressly reserved.

      Given the significant volume and ordinary course nature of these intercompany
      transactions, the Debtors may not have listed all intercompany transfers and
      transactions.

      As described in the Emergency Motion of Debtors for Entry of an Order (I) Authorizing
      Debtors to (A) Pay Prepetition Wages, Salaries, Employee Benefits, and Other
      Compensation, and (B) Maintain Employee Benefits Programs and Pay Related
      Obligations; and (II) Granting Related Relief (Docket No. 6) (the “Wages Motion”),
      employees are generally granted restricted stock units (“RSUs”) upon the
      commencement of their employment, which RSUs continue to vest through the term of
      their employment on four-year schedules. The Debtors have not included the vesting
      of previously granted RSUs for purposes of SOFA Part 2, Question 4. The Debtors,
      however, have included new grants of RSUs in SOFA Part 2, Question 4. For purposes
      of SOFA Part 2, Question 4, the RSUs are valued as of the Petition Date at $0 as they
      are granted in shares and not cash.

3.    SOFA Part 2, Question 5.

      The Debtors return products in the ordinary course due to defect, or if the product is
      not needed. The Debtors did not list any of these types of ordinary course returns in
      response to SOFA Part 2, Question 5.

4.    SOFA Part 2, Question 6.

      The Debtors routinely incur certain setoffs in the ordinary course of business, including
      postpetition setoffs. Setoffs in the ordinary course can result from various items
      including, but not limited to, intercompany transactions, pricing discrepancies, returns,
      warranties, coupons, refunds, and other disputes between the Debtors and their tenants
      and/or vendors. These routine setoffs are consistent with the ordinary course of business
      in the Debtors’ industry, and, therefore, can be particularly voluminous, unduly
      burdensome, and costly for the Debtors to regularly document. Therefore, although
      such setoffs and other similar rights may have been accounted for when scheduling
      certain amounts, these ordinary course setoffs are not independently accounted for, and,
      as such, are excluded from the Schedules and Statements. Any setoff of a prepetition
      debt to be applied against the Debtors is subject to the automatic stay and must comply
      with section 553 of the Bankruptcy Code. The Debtors reserve all rights with respect
      thereto, including the right to amend the setoff amounts.




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5.    SOFA Part 3, Question 7.

      Although the Debtors believe they were diligent in their efforts, certain lawsuits and
      proceedings may have been excluded inadvertently in the Debtors’ response to SOFA,
      Question 7. Additionally, the Debtors may have causes of action against other parties
      that have not formally been commenced, and thus any such causes of action have not
      been included on SOFA Part 3, Question 7. The Debtors reserve all of their rights to
      amend or supplement their response to SOFA Part 3, Question 7.

      The Debtors reserve all of their rights and defenses with respect to any and all listed
      lawsuits and administrative proceedings. The listing of such actions shall not constitute
      an admission by the Debtors of any liabilities or that the actions were correctly filed
      against the Debtors or any affiliates of the Debtors. The Debtors also reserve their rights
      to assert that neither the Debtors nor any affiliate of the Debtors is an appropriate party
      to such actions or proceedings.

      In the event that the Debtors discover additional information pertaining to these legal
      actions identified in response to SOFA Part 3, Question 7, the Debtors will use
      reasonable efforts to supplement the Statements in light thereof and reserve all rights to
      do so.

      The response to this question excludes normal-course state audit activities.

6.    SOFA Part 4, Question 9.

      The donations and/or charitable contributions listed in response to SOFA Part 4,
      Question 9 represent payments made to third parties during the applicable timeframe
      that were recorded as such within the Debtors’ books and records.

7.    SOFA Part 6, Question 11.

      All payments for services of any entities that provided consultation concerning debt
      counseling or restructuring services, relief under the Bankruptcy Code, or preparation
      of a petition in bankruptcy within one (1) year immediately preceding the Petition Date
      are listed on the applicable Debtors’ response to SOFA Part 6, Question 11. Certain
      professionals provided services in addition to restructuring related services; payments
      for such services have been excluded in response to SOFA Part 6, Question 11, to the
      extent reasonably practicable. Additional information regarding the Debtors’ retention
      of professional service firms is more fully described in individual retention applications
      and related orders, to the extent applicable.

      On a postpetition basis, payments to certain professionals have been or will be made
      from the Debtors’ segregated professional fee escrow account held by Core Scientific,
      Inc. on behalf of the Debtors on a consolidated basis. Payments to certain other
      professionals are paid out of the main operating account held by Core Scientific
      Operating Company. The Debtors believe that it would be an inefficient use of the
      assets of the Debtors’ estates for the Debtors to allocate these payments on a Debtor-
      by-Debtor basis. Accordingly, the Debtors have listed such payments on the SOFA of
      Core Scientific Operating Company.




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8.    SOFA Part 13, Question 27.

      No complete inventory results are maintained.

9.    SOFA Part 13, Question 30.

      Payments to insiders: refer to SOFA Part 2, Question 4 for payments that would have
      otherwise been listed in here.




                                         Page 21
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Core Scientific, Inc.                                                                                  Case Number:           22-90341

Schedule A/B: Assets — Real and Personal Property
      Part 1:         Cash and cash equivalents

1.    Does the debtor have any cash or cash equivalents?

              No. Go to Part 2.
              Yes. Fill in the information below.


     General description                                               Type of account          Last 4 digits of   Current value of
                                                                       (if applicable)          account #          debtor’s interest
                                                                                                (if applicable)


2.     Cash on hand
      2.1


3.     Checking, savings, money market, or financial brokerage accounts (Identify all)
      3.1    CITY NATIONAL BANK                                      CREDIT CARD                       7589                    $175,043


4.     Other cash equivalents (Identify all)
      4.1



5.     Total of Part 1.                                                                                                        $175,043
       Add lines 2 through 4. Copy the total to line 80.




                                                           Page 1 of 1 to Schedule A/B Part 1
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Core Scientific, Inc.                                                                               Case Number:          22-90341

Schedule A/B: Assets — Real and Personal Property
      Part 2:          Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

              No. Go to Part 3.
              Yes. Fill in the information below.


     General description                                                                                       Current value of
                                                                                                               debtor’s interest




7.     Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit


        7.1

8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment


        8.1



9.     Total of Part 2
       Add lines 7 through 8. Copy the total to line 81.




                                                               Page 1 of 1 to Schedule A/B Part 2
                       Case 22-90341 Document 461 Filed in TXSB on 02/03/23 Page 24 of 90

Core Scientific, Inc.                                                                                        Case Number:            22-90341

Schedule A/B: Assets — Real and Personal Property
      Part 3:       Accounts receivable
10. Does the debtor have any accounts receivable?

            No. Go to Part 4.
            Yes. Fill in the information below.


 General description                                                             Face or requested       Doubtful or         Current value of
                                                                                 amount                  uncollectable       debtor’s interest



11.     Accounts receivable

        11a. 90 days old or less:                                                                    -                   =

        11b. Over 90 days old:                                                                       -                   =


        11c. All accounts receivable:                                                                -                   =


12.     Total of Part 3
        Current value on lines 11a + 11b = line 12. Copy the total to line 82.




                                                           Page 1 of 1 to Schedule A/B Part 3
                                                                                          Case 22-90341 Document 461 Filed in TXSB on 02/03/23 Page 25 of 90


Schedule A/B, Part 3 - Accounts Receivable (Attachment)




                                                                                              Intercompany Summary Matrix

                                                                                                                                                                                     American           American
                                            Core Scientific    Core Scientific                         Core Scientific      American
                        Core Scientific,                                                                                                  Starboard Capital                          Property           Property             Core Scientific
                                           Acquired Mining      Operating         Radar Relay, Inc.   Specialty Mining      Property                              RADAR, LLC
                             Inc.                                                                                                               LLC                                Acquisitions I,   Acquisitions VII,        Mining LLC
                                                LLC              Company                                    LLC          Acquisition, LLC
                                                                                                                                                                                       LLC                LLC


     Core Scientific,
          Inc.
                                               ($12,690,624)     ($476,285,014)

     Core Scientific
    Acquired Mining
         LLC
                            $12,198,146                          ($152,359,250)         $1,745,468

     Core Scientific
      Operating
       Company
                           $476,792,362       $152,344,380                               ($557,450)


   Radar Relay, Inc.

                                                ($1,745,468)          $557,450

     Core Scientific
    Specialty Mining
          LLC
                                                                                                      x

       American
       Property
    Acquisition, LLC
                                                                                                                         x


       Starboard
      Capital LLC
                                                                                                                                          x


     RADAR, LLC

                                                                                                                                                              x
       American
       Property
     Acquisitions I,
         LLC                                                                                                                                                                   x
       American
       Property
    Acquisitions VII,
         LLC                                                                                                                                                                                         x


     Core Scientific
      Mining LLC
                                                                                                                                                                                                                         x
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Core Scientific, Inc.                                                                                   Case Number:              22-90341

Schedule A/B: Assets — Real and Personal Property
   Part 4:          Investments

13. Does the debtor own any investments?

           No. Go to Part 5.
           Yes. Fill in the information below.


 General description                                                                           Valuation method used   Current value of
                                                                                               for current value       debtor’s interest




14. Mutual funds or publicly traded stocks not included in Part 1
      Name of fund or stock:

    14.1


15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC, partnership,
    or joint venture
      Name of entity:

    15.1


16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
      Describe:

    16.1



17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.




                                                          Page 1 of 1 to Schedule A/B Part 4
                                                                     ScheduleCase
                                                                              A/B, Part   4- Investments
                                                                                     22-90341    Document 461 Filed in TXSB on 02/03/23 Page 27 of 90
                                                                     Core Scientific’s investments consists of its investment in subsidiaries, as set forth on the following organizational chart:
      Debtor Status
      D = Debtor
                                 Symbol Legend

          Borrower under the B. Riley Notes


          Issuer under the Convertible Notes


           Guarantor under the Convertible Notes


          Borrower under the Equipment Leases and Loans
                                                                                                                                                                                                                         DE

          Borrower under the Facility Mortgages                                                                                                                                            Core Scientific, Inc.
                                                                                                                                                                                                                                                                                                            ABD                                                  KY
                                                                                                                                                                                    (fka Power & Digital Infrastructure
                                                                                                                                                                                            Acquisition Corp.)                                                                   Core Scientific, Inc. – Branch                   CSP Liquid Opportunities
          Entity changed name at January 20, 2022 merger                                                                                                                                                                                                                                 (Abu Dhabi)                            Offshore Fund (Exempted Ltd)
                                                                                                                                                                                                                                                                                   *Provisional License not                           *Affiliated entity
                                                                                                                                                                                                                                                                                       separate entity
          Party to operations, service, customer and
          vendor Ăgreements entered into pre de-SPAC*
          *Available in the data room, except Amended and Restated Electric Service
          Agreements, dated as of October 11, 2018, by and between American Property
          Acquisitions, LLC VI/VII and Dalton Utilities

          Party to operations, service, customer and
          vendor Ăgreements entered into post de-SPAC*
          *Available in the data room




State of Formation/Incorporation
(as shown at top right corner of each box)
                                                                                                     DE                                                                  DE
                                                                                                                                                                                                                              dy                                                                                   DE
ABD = Abu Dhabi                                                             Core Scientific Acquired                                               Core Scientific                               ŽƌĞ^ĐŝĞŶƚŝĨŝĐDŝŶŝŶŐ>>                                                               Core Scientific Partners GP,
CO= Colorado                                                                      Mining LLC                                                  Operating Company
                                                                                                                                                                                                                                                                                                 LLC (SMLLC)
DE= Delaware                                                              (Acquirer of Blockcap, Inc.)                                      (fka Core Scientific, Inc.)
GA = Georgia
KY = Cayman Islands
dyсdĞǆĂƐ


                                                                                                                                                                                                                               >ŝŵŝƚĞĚ                           General
                                                                                                                                                                                                                               Partner                           Partner                                                                 General Partner


                                                                                                                                    DE                                                            DE                                                                        DE
                                                           Radar Relay, Inc.                              Core Scientific Specialty Mining                                                                                               Core Scientific Partners, LP
                                                        (fka Radar Relay, LLC)                                                                                             American Property Acquisition,
                                                                                                                  (Oklahoma) LLC
                                                                                                                                                                                       LLC
                                                                                                            (fka GPU One Holdings, LLC)




                                                                                                                                                                                                                                                                                                                                  >ŝŵŝƚĞĚ
                                                                                                                                                                                                                                                                                                                                  Partner




                           CO                                                                CO                                                    NC                                                                                        GA                                                DE                                                                 DE
                                                                                                                                                                                                                                                                           CSP Advisors, LLC (SMLLC)                                   CSP Liquid Opportunities GP, LP
 Starboard Capital LLC                                                       RADAR LLC                                American Property Acquisitions I,                                                        American Property Acquisitions
                                                                                                                                   LLC                                                                                    VII, LLC




                                                                                                                                                                                                                                                                                                                     General Partner                          General Partner



                                                                                                                                                                                                                                                                                                                                                       DE
                                                                                                                                                                                                                                               >ŝŵŝƚĞĚ Partner                                                       CSP Liquid Opportunities
                                                                                                                                                                                                                                                                                                                             Fund, LP


                                                                                                                                                                                                                                                                                                                                                                                         KY
                                                                                                                                                                                                                                                                                                                                                              CSP Liquid Opportunities
                                                                                                                                                                                                                                                                                                                     >ŝŵŝƚĞĚ Partner
                                                                                                                                                                                                                                                                                                                                                                  Master Fund, LP
                       Case 22-90341 Document 461 Filed in TXSB on 02/03/23 Page 28 of 90

Core Scientific, Inc.                                                                                   Case Number:           22-90341

Schedule A/B: Assets — Real and Personal Property
   Part 5:         Inventory, excluding agriculture assets - detail
18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes. Fill in the information below.


 General description                                       Date of the last        Net book value of   Valuation method   Current value of
                                                           physical inventory      debtor's interest   used for current   debtor’s interest
                                                                                   (Where available)   value

19. Raw materials

   19.1

20. Work in progress

   20.1

21. Finished goods, including goods held for resale

   21.1

22. Other Inventory or supplies

   22.1


23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.


24. Is any of the property listed in Part 5 perishable?

           No
           Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes.       Book Value                             Valuation method                          Current value


26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

           No
           Yes




                                                          Page 1 of 1 to Schedule A/B Part 5
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Core Scientific, Inc.                                                                                  Case Number:                22-90341

Schedule A/B: Assets — Real and Personal Property
   Part 6:             Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

            No. Go to Part 7.
            Yes. Fill in the information below.


 General description                                                      Net book value of    Valuation method         Current value of
                                                                          debtor's interest    used for current value   debtor’s interest
                                                                          (Where available)


28. Crops—either planted or harvested
     28.1

29. Farm animals
     Examples: Livestock, poultry, farm-raised fish

     29.1

30. Farm machinery and equipment
     (Other than titled motor vehicles)

     30.1

31. Farm and fishing supplies, chemicals, and feed
     31.1

32. Other farming and fishing-related property not already listed in Part 6
     32.1


33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.


34. Is the debtor a member of an agricultural cooperative?
            No
            Yes. Is any of the debtor’s property stored at the cooperative?

                  No
                  Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

            No
            Yes.        Book Value                            Valuation method                        Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?

            No
            Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

            No
            Yes




                                                          Page 1 of 1 to Schedule A/B Part 6
                        Case 22-90341 Document 461 Filed in TXSB on 02/03/23 Page 30 of 90

Core Scientific, Inc.                                                                                  Case Number:                22-90341

Schedule A/B: Assets — Real and Personal Property
   Part 7:          Office furniture, fixtures, and equipment; and collectibles - detail
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

            No. Go to Part 8.
            Yes. Fill in the information below.


 General description                                                     Net book value of     Valuation method         Current value of
                                                                         debtor's interest     used for current value   debtor’s interest
                                                                         (Where available)



39. Office furniture

     39.1




40. Office fixtures

     40.1




41. Office equipment, including all computer equipment and communication systems equipment and software

     41.1




42. Collectibles

     42.1




43. Total of Part 7
    Add lines 39 through 42. Copy the total to line 86.


44. Is a depreciation schedule available for any of the property listed in Part 7?

            No
            Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

            No
            Yes




                                                          Page 1 of 1 to Schedule A/B Part 7
                       Case 22-90341 Document 461 Filed in TXSB on 02/03/23 Page 31 of 90

Core Scientific, Inc.                                                                                          Case Number:                22-90341

Schedule A/B: Assets — Real and Personal Property
   Part 8:          Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

            No. Go to Part 9.
            Yes. Fill in the information below.


 General description                                                               Net book value of   Valuation method         Current value of
                                                                                   debtor's interest   used for current value   debtor’s interest
                                                                                   (Where available)




47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1


48. Watercraft, trailers, motors, and related accessories
     Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1


49. Aircraft and accessories

     49.1


50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

     50.1



51. Total of Part 8
    Add lines 47 through 50. Copy the total to line 87.


52. Is a depreciation schedule available for any of the property listed in Part 8?

            No
            Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

            No
            Yes




                                                                Page 1 of 1 to Schedule A/B Part 8
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Core Scientific, Inc.                                                                                       Case Number:              22-90341

Schedule A/B: Assets — Real and Personal Property
   Part 9:         Real property - detail

54. Does the debtor own or lease any real property?

           No. Go to Part 10.
           Yes. Fill in the information below.


Description and location of property                         Nature and extent      Net book value of       Valuation method   Current value of
Include street address or other description such as          of debtor’s            debtor's interest       used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property           interest in            (Where available)       value
(for example, acreage, factory, warehouse, apartment or      property
office building), if available.




55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

   55.1      COTTONWOOD, TEXAS (LAND                              LEASED                   $6,921,748               NBV               $6,921,748
             IMPROVEMENT: 1939 FM 2119 PECOS,
             TX 79772 )



56. Total of Part 9                                                                                                                   $6,921,748
    Add the current value on all Question 55 lines and entries from any additional sheets. Copy the total to line 88.


57. Is a depreciation schedule available for any of the property listed in Part 9?

           No
           Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

           No
           Yes




                                                          Page 1 of 1 to Schedule A/B Part 9
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Core Scientific, Inc.                                                                                  Case Number:              22-90341

Schedule A/B: Assets — Real and Personal Property
  Part 10:         Intangibles and intellectual property - detail

59. Does the debtor have any interests in intangibles or intellectual property?

           No. Go to Part 11.
           Yes. Fill in the information below.


 General description                                                   Net book value of     Valuation method         Current value of
                                                                       debtor's interest     used for current value   debtor’s interest
                                                                       (Where available)



60. Patents, copyrights, trademarks, and trade secrets

    60.1

61. Internet domain names and websites

    61.1

62. Licenses, franchises, and royalties

    62.1

63. Customer lists, mailing lists, or other compilations

    63.1

64. Other intangibles, or intellectual property

    64.1

65. Goodwill

    65.1


66. Total of Part 10
    Add lines 60 through 65. Copy the total to line 89.


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and
    107)?

           No
           Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

           No
           Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

           No
           Yes




                                                           Page 1 of 1 to Exhibit AB-10
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Core Scientific, Inc.                                                                                    Case Number:             22-90341

Schedule A/B: Assets — Real and Personal Property
  Part 11:          All other assets
70. Does the debtor own any other assets that have not yet been reported on this form? Include all interests in executory
    contracts and unexpired leases not previously reported on this form.

           No. Go to Part 12.
           Yes. Fill in the information below.


 General description                                                                                                    Current value of
                                                                                                                        debtor’s interest




71. Notes receivable
      Description (include name of obligor)

    71.1




72. Tax refunds and unused net operating losses (NOLs)
      Description (for example, federal, state, local)

    72.1   $12.5 million of cumulative State NOLs through 12/31/2021                                                          Undetermined




73. Interests in insurance policies or annuities

    73.1




74. Causes of action against third parties (whether or not a lawsuit has been filed)

    74.1   Benjamin Thomison & Alpha Asic                                                                                     Undetermined

            Nature of claim: Litigation
            Amount requested: Not Available

    74.2   Celsius Mining LLC: Undetermined disputes, including potential claims for breach of contract, among other          Undetermined
           causes of action.

            Nature of claim: Undetermined disputes
            Amount requested: Not Available

    74.3   JONATHAN BARRETT 2012 IRREVOCABLE                                                                                  Undetermined
           TRUST: Undetermined disputes, including potential claims for breach of contract, among other causes of
           action.

            Nature of claim: Undetermined disputes
            Amount requested: Not Available

75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set
    off claims

    75.1




                                                         Page 1 of 2 to Schedule A/B Part 11
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Core Scientific, Inc.                                                                                  Case Number:             22-90341

Schedule A/B: Assets — Real and Personal Property
   Part 11:        All other assets

  General description                                                                                                 Current value of
                                                                                                                      debtor’s interest




76. Trusts, equitable or future interests in property

     76.1




77. Other property of any kind not already listed Examples: Season tickets, country club membership
       Examples: Season tickets, country club membership

     77.1




78. Total of Part 11
                                                                                                                           Undetermined
     Add lines 71 through 77. Copy the total to line
     90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

            No
            Yes




                                                           Page 2 of 2 to Schedule A/B Part 11
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Core Scientific, Inc.                                                                                          Case Number:             22-90341

Schedule A/B: Assets — Real and Personal Property
   Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form.

  Type of property                                                                  Current value of          Current value of   Total of all property
                                                                                    personal property          real property


80.    Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                  $175,043

81.    Deposits and prepayments. Copy line 9, Part 2.                                             $0

82.    Accounts receivable. Copy line 12, Part 3.                                                 $0

83.    Investments. Copy line 17, Part 4.                                                         $0

84.    Inventory. Copy line 23, Part 5.                                                           $0

85.    Farming and fishing-related assets. Copy line 33, Part 6.                                  $0

86.    Office furniture, fixtures, and equipment; and collectibles. Copy                          $0
       line 43, Part 7.

87.    Machinery, equipment, and vehicles. Copy line 51, Part 8.                                  $0

88.    Real property. Copy line 56, Part 9.                                                                        $6,921,748

89.    Intangibles and intellectual property. Copy line 66, Part 10.                              $0

90.    All other assets. Copy line 78, Part 11.                                                   $0



91.    Total. Add lines 80 through 90 for each column.                                     $175,043                $6,921,748
                                                                               a.                       b..



92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.                                                                        $7,096,791




                                                            Page 1 of 1 to Schedule A/B Part 12
                                                Case 22-90341 Document 461 Filed in TXSB on 02/03/23 Page 37 of 90

Core Scientific, Inc.                                                                                                                                            Case Number:            22-90341

Schedule D: Creditors Who Have Claims Secured by Property

1.    Do any creditors have claims secured by debtor’s property?
             No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
             Yes. Fill in all of the information below.


      Part 1:       List Creditors Who Have Secured Claims
2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the
      creditor separately for each claim.

 Creditor's Name and Mailing Address, E-mail                   Co-      Insider     Co-      Date Claim was Incurred, Property Description,          C U     D    Amount of Claim   Value of Collateral
 Address & An Account Number                                 Interest              Debtor    Lien & Co-Interest Creditor

Convertible Notes

2.1     U.S. BANK NATIONAL ASSOCIATION, AS NOTE                                             DATE: 8/20/2021                                                         $322,918,757
        AGENT
        WEST SIDE FLATS, 60 LIVINGSTONE AVENUE                                              PROPERTY DESCRIPTION: 10% CONVERTIBLE
        EP-MN-WS3C                                                                          NOTE DUE APR 1, 2025
        ATTN: JOSHUA HAHN
        ST. PAUL, MN 55107




2.2     U.S. BANK NATIONAL ASSOCIATION, AS NOTE                                             DATE: 4/19/2021                                                         $237,969,176
        AGENT
        WEST SIDE FLATS, 60 LIVINGSTONE AVENUE                                              PROPERTY DESCRIPTION: 10% CONVERTIBLE
        EP-MN-WS3C                                                                          NOTE DUE APR 19, 2025
        ATTN: JOSHUA HAHN
        ST. PAUL, MN 55107




                                                                                                                               Convertible Notes Total:             $560,887,934




                                                                                     Page 1 of 7 to Schedule D Part 1
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Core Scientific, Inc.                                                                                                                   Case Number:            22-90341

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U   D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Equipment Financings

2.3   ANCHOR LABS #1 (ANCHORAGE LENDING)                                    DATE: 3/1/2022                                                  $15,000,002
      ONE EMBARCADERO CENTER
      SUITE 2623                                                            PROPERTY DESCRIPTION: 12.5% EQUIPMENT
      SAN FRANCISCO, CA 94126                                               FINANCING DUE MAR 11, 2024




2.4   ANCHOR LABS #2 (ANCHORAGE LENDING)                                    DATE: 5/23/2022                                                 $10,159,057
      ONE EMBARCADERO CENTER
      SUITE 2623                                                            PROPERTY DESCRIPTION: 12.5% EQUIPMENT
      SAN FRANCISCO, CA 94126                                               FINANCING DUE MAY 23, 2024




2.5   LIBERTY STONEBRIAR                                                    DATE: 4/6/2022                                                   $6,968,255
      5601 GRANITE PARKWAY
      STE 1350                                                              PROPERTY DESCRIPTION: 10.65% EQUIPMENT
      PLANO, TX 75024                                                       FINANCING DUE MAR 1, 2024




2.6   MASS MUTUAL BARINGS SCH. 1                                            DATE: 3/24/2022                                                 $18,055,809
      2 HAMPSHIRE STREET
      SUITE 101                                                             PROPERTY DESCRIPTION: 13% EQUIPMENT
      FOXBOROUGH, MA 02035                                                  FINANCING DUE MAR 30, 2025




                                                                     Page 2 of 7 to Schedule D Part 1
                                      Case 22-90341 Document 461 Filed in TXSB on 02/03/23 Page 39 of 90

Core Scientific, Inc.                                                                                                                   Case Number:            22-90341

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U   D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Equipment Financings

2.7   MASS MUTUAL BARINGS SCH. 2                                            DATE: 3/24/2022                                                  $8,127,841
      2 HAMPSHIRE STREET
      SUITE 101                                                             PROPERTY DESCRIPTION: 13% EQUIPMENT
      FOXBOROUGH, MA 02035                                                  FINANCING DUE MAR 30, 2025




2.8   MASS MUTUAL BARINGS SCH. 3                                            DATE: 3/24/2022                                                    $900,063
      2 HAMPSHIRE STREET
      SUITE 101                                                             PROPERTY DESCRIPTION: 13% EQUIPMENT
      FOXBOROUGH, MA 02035                                                  FINANCING DUE MAR 30, 2025




2.9   MASS MUTUAL BARINGS SCH. 4                                            DATE: 4/28/2022                                                 $11,591,557
      2 HAMPSHIRE STREET
      SUITE 101                                                             PROPERTY DESCRIPTION: 13% EQUIPMENT
      FOXBOROUGH, MA 02035                                                  FINANCING DUE APR 28, 2025




2.10 MASS MUTUAL BARINGS SCH. 5                                             DATE: 4/28/2022                                                  $9,271,137
     2 HAMPSHIRE STREET
     SUITE 101                                                              PROPERTY DESCRIPTION: 13% EQUIPMENT
     FOXBOROUGH, MA 02035                                                   FINANCING DUE APR 28, 2025




                                                                     Page 3 of 7 to Schedule D Part 1
                                      Case 22-90341 Document 461 Filed in TXSB on 02/03/23 Page 40 of 90

Core Scientific, Inc.                                                                                                                     Case Number:            22-90341

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U     D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Equipment Financings

2.11 MASS MUTUAL BARINGS SCH. 6                                             DATE: 4/28/2022                                                   $15,897,930
     2 HAMPSHIRE STREET
     SUITE 101                                                              PROPERTY DESCRIPTION: 13% EQUIPMENT
     FOXBOROUGH, MA 02035                                                   FINANCING DUE APR 28, 2025




                                                                                                        Equipment Financings Total:           $95,971,651




                                                                     Page 4 of 7 to Schedule D Part 1
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Core Scientific, Inc.                                                                                                                      Case Number:            22-90341

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U      D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Facility Mortgages

2.12 BROWN CORPORATION                                                      DATE: 9/1/2018                                                        $166,356
     PO BOX 1103
     DALTON, GA 30722                                                       PROPERTY DESCRIPTION: 5% FACILITY
                                                                            MORTGAGE DUE SEP 1, 2023




                                                                                                           Facility Mortgages Total:              $166,356




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Core Scientific, Inc.                                                                                                                       Case Number:            22-90341

Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,   C U       D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Letters of Credit

2.13 CITY NATIONAL BANK                                                     DATE: 1/25/2022                                                              $0
     350 S. GRAND AVE.
     MAIL CODE 944-01                                                       PROPERTY DESCRIPTION: LETTER OF CREDIT
     LOS ANGELES, CA 90071

    ACCT. LAST 4: 3577




2.14 SRPF A QR RIVERSOUTH LLC                                               DATE: 1/25/2022                                                              $0
     515 CONGRESS AVE.
     SUITE 2100                                                             PROPERTY DESCRIPTION: LETTER OF CREDIT
     AUSTIN, TX 78701

    ACCT. LAST 4: 3577




                                                                                                             Letters of Credit Total:                    $0




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Core Scientific, Inc.                                                                                           Case Number:      22-90341

Schedule D: Creditors Who Have Claims Secured by Property

                                                                                                                Amount of Claim


3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.      $657,025,941




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Core Scientific, Inc.                                                                                 Case Number:                22-90341

Schedule D: Creditors Who Have Claims Secured by Property
  Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are
collection agencies, assignees of claims listed above, and attorneys for secured creditors.

 Name and Mailing Address                                               Part 1 Line on which the Related         Last 4 Digits of Account
                                                                               Creditor was Listed                Number for this Entity


NONE




                                                      Page 1 of 1 to Schedule D Part 2
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Core Scientific, Inc.                                                                                     Case Number:                 22-90341

Schedule E/F: Creditors Who Have Unsecured Claims
     Part 1:       List All Creditors with PRIORITY Unsecured Claims

1.   Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.
            Yes. Go to line 2.
2.   List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor
     has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

 Creditor's Name, Mailing Address Including         Date Claim Was Incurred And       C U     D      Offset      Total Claim      Priority Amount
 Zip Code                                                 Account Number

Taxing Authorities

2.1 CALIFORNIA FRANCHISE TAX BOARD                           UNKNOWN                                           UNDETERMINED UNDETERMINED
    P.O. BOX 942857
    SACRAMENTO, CA 94257-0531                     ACCOUNT NO.: NOT AVAILABLE

2.2 CHEROKEE COUNTY TAX COLLECTOR                            UNKNOWN                                           UNDETERMINED UNDETERMINED
    75 PEACHTREE SREET
    #225                                          ACCOUNT NO.: NOT AVAILABLE
    MURPHY, NC 28906-2947

2.3 CITY OF CALVERT CITY                                     UNKNOWN                                           UNDETERMINED UNDETERMINED
    861 E. 5TH AVENUE
    P.O. BOX 36                                   ACCOUNT NO.: NOT AVAILABLE
    CALVERT CITY, KY 42049

2.4 COLORADO DEPARTMENT OF REVENUE        UNKNOWN                                                              UNDETERMINED UNDETERMINED
    P.O. BOX 17087
    DENVER, CO 80217-0087          ACCOUNT NO.: NOT AVAILABLE

2.5 EDDIE MCGUIRE, MARHSALL COUNTY                           UNKNOWN                                           UNDETERMINED UNDETERMINED
    SHERIFF
    52 JUDICIAL DRIVE                             ACCOUNT NO.: NOT AVAILABLE
    BENTON, KY 42025

2.6 GEORGIA DEPARTMENT OF REVENUE                            UNKNOWN                                           UNDETERMINED UNDETERMINED
    P.O. BOX 105499
    ATLANTA, GA 30348-5499                        ACCOUNT NO.: NOT AVAILABLE

2.7 INTERNAL REVENUE SERVICE                UNKNOWN                                                            UNDETERMINED UNDETERMINED
    CENTRALIZED INSOLVENCY OPERATION
    P.O. BOX 7346                    ACCOUNT NO.: NOT AVAILABLE
    PHILADELPHIA, PA 19101-7346

2.8 KENTUCKY DEPARTAMENT OF                                  UNKNOWN                                           UNDETERMINED UNDETERMINED
    REVENUE
    501 HIGH STREET​                              ACCOUNT NO.: NOT AVAILABLE
    FRANKFORT, KY 40601

2.9 KING COUNTY ASSESSOR                                     UNKNOWN                                           UNDETERMINED UNDETERMINED
    201 S. JACKSON STREET
    ROOM 708                                      ACCOUNT NO.: NOT AVAILABLE
    SEATTLE, WA 98104

2.10 NORTH CAROLINA DEPARTMENT OF                            UNKNOWN                                           UNDETERMINED UNDETERMINED
     REVENUE
     POST OFFICE BOX 25000                        ACCOUNT NO.: NOT AVAILABLE
     RALEIGH, NC 27640-0640



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Core Scientific, Inc.                                                                              Case Number:          22-90341

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including    Date Claim Was Incurred And      C U    D     Offset     Total Claim   Priority Amount
Zip Code                                            Account Number

Taxing Authorities

2.11 NORTH DAKOTA DEPARTMENT OF                       UNKNOWN                                         UNDETERMINED UNDETERMINED
     REVENUE
     600 E. BOULEVARD AVE.                   ACCOUNT NO.: NOT AVAILABLE
     DEPT. 127
     BISMARCK, ND 58505-0599

2.12 OKLAHOMA DEPARTMENT OF REVENUE        UNKNOWN                                                    UNDETERMINED UNDETERMINED
     2501 NORTH LINCOLN BOULEVARD
     OKLAHOMA CITY, OK 73194        ACCOUNT NO.: NOT AVAILABLE

2.13 STATE OF DELAWARE - DIVISION OF                  UNKNOWN                                         UNDETERMINED UNDETERMINED
     CORPORATIONS
     P.O. BOX 5509                           ACCOUNT NO.: NOT AVAILABLE
     BINGHAMTON, NY 13902-5509

2.14 TENNESSEE DEPARTMENT OF                          UNKNOWN                                         UNDETERMINED UNDETERMINED
     REVENUE
     ANDREW JACKSON BUILDING                 ACCOUNT NO.: NOT AVAILABLE
     500 DEADERICK STREET
     NASHVILLE, TN 37242

2.15 TEXAS COMPTROLLER                                UNKNOWN                                         UNDETERMINED UNDETERMINED
     P.O. BOX 13528
     CAPITOL STATION                         ACCOUNT NO.: NOT AVAILABLE
     AUSTIN, TX 78711-3528

2.16 US CUSTOMS AND BORDER                            UNKNOWN                                         UNDETERMINED UNDETERMINED
     PROTECTION
     FP&F OFFICE                             ACCOUNT NO.: NOT AVAILABLE
     5600 PEARL SREET
     ROSEMOND, IL 60018

2.17 WARD COUNTY ASSESSOR                             UNKNOWN                                         UNDETERMINED UNDETERMINED
     808 S BETTY AVENUE
     MONAHANS, TX 79756                      ACCOUNT NO.: NOT AVAILABLE

2.18 WHITFIELD COUNTY BOARD OF                        UNKNOWN                                         UNDETERMINED UNDETERMINED
     ASSESSORS
     303 W. WAUGH STREET                     ACCOUNT NO.: NOT AVAILABLE
     DALTON, GA 30720-4291

                                                                       Taxing Authorities Total:      UNDETERMINED UNDETERMINED




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Core Scientific, Inc.                                                                 Case Number:       22-90341

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

   Total: All Creditors with PRIORITY Unsecured Claims                                   UNDETERMINED UNDETERMINED




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Core Scientific, Inc.                                                                                    Case Number:                    22-90341

Schedule E/F: Creditors Who Have Unsecured Claims
      Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with
      nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.


 Creditor's Name, Mailing Address                Date Claim Was Incurred And        C U      D     Basis For       Offset      Amount of Claim
 Including Zip Code                                    Account Number                                Claim

Unsecured bridge loans

3.1     B. RILEY COMMERCIAL CAPITAL,                        4/7/2022                             Bridge Loan                             $8,487,513
        LLC
        ATTN: GENERAL COUNSEL                  ACCOUNT NO.: NOT AVAILABLE
        11100 SANTA MONICA BLVD.
        STE. 800
        LOS ANGELES, CA 90025


3.2     BRF FINANCE CO, LLC                                 4/7/2022                             Bridge Loan                            $33,950,053
        ATTN: GENERAL COUNSEL
        30870 RUSSELL RANCH ROAD               ACCOUNT NO.: NOT AVAILABLE
        STE 250
        WESTLAKE VILLAGE, CA 91362


                                                                                          Unsecured bridge loans Total:                 $42,437,566




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Core Scientific, Inc.                                                                              Case Number:             22-90341

Schedule E/F: Creditors Who Have Unsecured Claims
      Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And       C U      D   Basis For       Offset    Amount of Claim
Including Zip Code                                 Account Number                             Claim

Litigation

3.3     CELSIUS MINING LLC                           UNKNOWN                                Litigation                 UNDETERMINED
        C/O KIRKLAND & ELLIS LLP
        ATTN: JOSHUA A. SUSSBERG,           ACCOUNT NO.: NOT AVAILABLE
        P.C., PATRICK J. NASH, JR., P.C.,
        ROSS M. KWASTENIET, P.C.,
        CHRISTOPHER S. KOENIG, ESQ.,
        AND DAN LATONA, ESQ.
        601 LEXINGTON AVENUE
        NEW YORK, NY 10002


3.4     HARLIN DEAN                                  UNKNOWN                                Litigation                 UNDETERMINED
        C/O RIDDLE & WILLIAMS
        ATTORNEYS AND COUNSELORS            ACCOUNT NO.: NOT AVAILABLE
        ATTN: DEAN RIDDLE
        3811 TURTLE CREEK BLVD, STE
        500
        DALLAS, TX 75219


3.5     JONATHAN BARRETT, ET AL.                     UNKNOWN                                Litigation                 UNDETERMINED
        C/O SEMENZA KIRCHER RICKARD
        ATTN: LAWRENCE J. SEMENZA, III,     ACCOUNT NO.: NOT AVAILABLE
        ESQ.,CHRISTOPHER D. KIRCHER,
        ESQ., JARROD L. RICKARD,
        ESQ.,KATIE L. CANNATA, ESQ.,
        10161 PARK RUN DRIVE, SUITE 150
        LAS VEGAS, NV 89145


3.6     MCCARTHY BUILDINGS                           UNKNOWN                                Litigation                 UNDETERMINED
        COMPANIES, INC
        C/O SCHIFFER HICKS JOHNSON          ACCOUNT NO.: NOT AVAILABLE
        PLLC
        ATTN: ADAM P. SCHIFFER
        700 LOUISIANA STREET, STE 2650
        HOUSTON, TX 77002


3.7     MEI PANG                                     UNKNOWN                                Litigation                 UNDETERMINED
        C/O STECKLER WAYNE CHERRY &
        LOVE PLLC                           ACCOUNT NO.: NOT AVAILABLE
        ATTN: BRUCE W. STECKLER

        12720 HILLCREST ROAD, STE 1045
        DALLAS, TX 75230


3.8     SPHERE 3D                                    UNKNOWN                                Litigation                 UNDETERMINED
        C/O DONTZIN NAGY & FLESSING
        LLP                                 ACCOUNT NO.: NOT AVAILABLE
        ATTN: TIBOR L NAGY, JR.,
        GREGORY N. WOLFE AND SUSAN
        HU
        980 MADISON AVENUE,
        NEW YORK, NY 10075


                                                                                                  Litigation Total:    UNDETERMINED


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Core Scientific, Inc.                                                                        Case Number:            22-90341

Schedule E/F: Creditors Who Have Unsecured Claims
      Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address     Date Claim Was Incurred And       C U       D     Basis For      Offset   Amount of Claim
Including Zip Code                         Account Number                                Claim

Intercompany Payables

3.9     CORE SCIENTIFIC ACQUIRED             UNKNOWN                                  Intercompany                  $12,690,624
        MINING LLC
        2407 S. CONGRESS AVE        ACCOUNT NO.: NOT AVAILABLE
        STE. E-101
        AUSTIN, TX 78704


3.10 CORE SCIENTIFIC OPERATING               UNKNOWN                                  Intercompany                $476,285,014
     COMPANY
     2407 S. CONGRESS AVE           ACCOUNT NO.: NOT AVAILABLE
     STE. E-101
     AUSTIN, TX 78704


                                                                                Intercompany Payables Total:      $488,975,638




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Core Scientific, Inc.                                                               Case Number:     22-90341

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

                                        Total: All Creditors with NONPRIORITY Unsecured Claims     $531,413,204




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Core Scientific, Inc.                                                                                   Case Number:                 22-90341

Schedule E/F: Creditors Who Have Unsecured Claims
     Part 3:       List Others to Be Notified About Unsecured Claims

4.     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed
       are collection agencies, assignees of claims listed above, and attorneys for secured creditors.


 Creditor's Name, Mailing Address Including Zip Code                      On which line in Part 1 did you enter        Last 4 digits of account
                                                                                 the related creditor?                   number for this entity


4. 1    DUANE MORRIS LLP                                                               LINE: 3.2                                  Not Available
        1540 BROADWAY
        ATTN: JAMES T. SEERY
        NEW YORK, NY 10036


4. 2    DUANE MORRIS LLP                                                               LINE: 3.1                                  Not Available
        1540 BROADWAY
        ATTN: JAMES T. SEERY
        NEW YORK, NY 10036




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Core Scientific, Inc.                                                                           Case Number:          22-90341

Schedule E/F: Creditors Who Have Unsecured Claims
      Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.


                                                                                                       Total of claim amounts


5a.     Total claims from Part 1                                                          5a.                              $0



5b.     Total claims from Part 2                                                          5b.    +               $531,413,204




5c.     Total of Parts 1 and 2                                                            5c.                    $531,413,204

        Lines 5a + 5b = 5c.




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Core Scientific, Inc.                                                                                                                                            Case Number:              22-90341

Schedule G: Executory Contracts and Unexpired Leases
1.     Does the debtor have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
             Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

2.     List all contracts and unexpired leases

 Nature of the Debtor's Interest                                 Expiration Date        Contract ID      Co-Debtor Name                                             Address



Construction Services

2. 1           2022-02-15 CONSTRUCTION                                                CONSTR1324                     ALLIED STEEL BUILDINGS, INC                   6451 N FEDERAL HWYSUITE
               SERVICES - PROPOSALS                                                                                                                                411FORTLAUDERDALE FL 33308

2. 2           2022-02-11 CONSTRUCTION                                                CONSTR1291                     ALLIED STEEL BUILDINGS, INC.                  6451 N. FEDERAL HIGHWAY, STE.
               SERVICES - MASTER ADDENDUM                                                                                                                          411FORT LAUDERDALE, FL 33308

2. 3           POWER AGREEMENT - DALTON                                               CONSTR1717                     DALTON UTILITIES                              PO BOX 869
               PROPERTY                                                                                                                                            DALTON, GA 30722-0869

2. 4           2022-04-01 CONSTRUCTION                                                CONSTR1307                     FELKER CONSTRUCTION CO, INC.                  PO BOX 1647, DALTON, GA 30722
               SERVICES - LETTER AGREEMENT RE
               ROOF DEFLECTORS AT DALTON

2. 5           2022-05-11 CONSTRUCTION                                                CONSTR1330                     GRAYBAR ELECTRIC COMPANY INC                  7055 S DECATUR BLVD STE 100,
               SERVICES - PROPOSAL (Q#0240668646)                                                                                                                  LAS VEGAS NV 89118

2. 6           2022-04-08 CONSTRUCTION                                                CONSTR1325                     HARPER CONSTRUCTION COMPANY                   2241 KETTNER BLVD, SUITE 300,
               SERVICES - UNDERLYING TERMS AND                                                                       INC                                           SAN DIEGO, CA 92101
               SOW

2. 7            CONSTRUCTION SERVICES - DBIA NO.                                      CONSTR1306                     LML SERVICES LLC DBA FLOWTX                   PO BOX 90504, SAN ANTONIO, TX
               535 (UNDERLYING TERMS FOR COT 2)                                                                                                                    78209
               FOR FLOWTX

2. 8           2022-01-20 CONSTRUCTION                                                CONSTR1290                     LML SERVICES LLC DBA FLOWTX                   PO BOX 90504, SAN ANTONIO, TX
               SERVICES - AIA DOCUMENT A101-2017                                                                                                                   78209

2. 9           2022-03-11 CONSTRUCTION                                                CONSTR1303                     LML SERVICES LLC DBA FLOWTX                   PO BOX 90504, SAN ANTONIO, TX
               SERVICES - CHANGE ORDER NO 001                                                                                                                      78209




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Core Scientific, Inc.                                                                                                       Case Number:          22-90341

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                  Expiration Date    Contract ID    Co-Debtor Name                            Address



Construction Services

2. 10       2022-03-12 CONSTRUCTION                                CONSTR1305                 LML SERVICES LLC DBA FLOWTX    PO BOX 90504, SAN ANTONIO, TX
            SERVICES - CHANGE ORDER NO. 01                                                                                   78209
            (MASS GRADING AMENDMENT)

2. 11       2022-03-14 CONSTRUCTION                                CONSTR1289                 LML SERVICES LLC DBA FLOWTX    PO BOX 90504, SAN ANTONIO, TX
            SERVICES - CHANGE ORDER 01                                                                                       78209

2. 12       2022-05-31 CONSTRUCTION                                CONSTR1304                 LML SERVICES LLC DBA FLOWTX    PO BOX 90504, SAN ANTONIO, TX
            SERVICES - CHANGE ORDER 02                                                                                       78209

2. 13       2022-02-03 PROFESSIONAL SERVICES -                     CONSTR1314                 MJDII ARCHITECTS, INC.         16775 ADDISON ROAD, SUITE
            LETTER AGREEMENT RE ADDITIONAL                                                                                   310ADDISON, TX 75001
            SERVICES NO. 1




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Core Scientific, Inc.                                                                                            Case Number:            22-90341

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                 Expiration Date    Contract ID    Co-Debtor Name                  Address



Consulting Agreements

2. 14       2022-07-15 - CONSULTING AGREEMENT                     CONSULT1411                ADAM NOAH            2407 S. CONGRESS AVE
                                                                                                                  STE. E-101
                                                                                                                  AUSTIN, TX 78704

2. 15       2022-07-12 - CONSULTING AGREEMENT                     CONSULT1421                COLIN CROWELL        2407 S. CONGRESS AVE
                                                                                                                  STE. E-101
                                                                                                                  AUSTIN, TX 78704

2. 16        MSA AND SOW DATED 01/25/2023                         CONSULT626                 ERNST & YOUNG LLP    1120 NW COUCH ST # 425,
                                                                                                                  PORTLAND, OR 97209

2. 17       2022-10-26 - INDEPENDENT DIRECTOR                     CONSULT1431                NEAL GOLDMAN         2407 S. CONGRESS AVE
            AGREEMENT                                                                                             STE. E-101
                                                                                                                  AUSTIN, TX 78704

2. 18       2022-04-18 - CONSULTING SERVICES                      CONSULT1414                SYNOPSYS, INC.       690 EAST MIDDLEFIELD ROAD,
            AGREEMENT                                                                                             MOUNTAIN VIEW, CA 94043

2. 19       2022-05-13 - CONSULTING AGREEMENT                     CONSULT1417                WACHSMAN LLC         99 WALL STREET, STE 2750, NEW
                                                                                                                  YORK, NY 10005




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Core Scientific, Inc.                                                                                                     Case Number:              22-90341

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                 Expiration Date   Contract ID    Co-Debtor Name                            Address



Customer Contracts

2. 20       2022-12-20 - MASTER SERVICES                          CUST1352                  CHARLES ARAM                   11, 25 EGERTON GARDENS
            AGREEMENT AND ORDER FORM 1                                                                                     LONDON SW3 2DE

2. 21       2022-09-21 - MASTER SERVICES                          CUST1354                  FOUNDRY DIGITAL LLC            250 PARK AVENUE SOUTH, 5TH
            AGREEMENT                                                                                                      FLOOR
                                                                                                                           NEW YORK, NY 10003

2. 22       2022-10-15 - ORDER 1                                  CUST1353                  FOUNDRY DIGITAL LLC            250 PARK AVENUE SOUTH, 5TH
                                                                                                                           FLOOR
                                                                                                                           NEW YORK, NY 10003

2. 23       2022-02-02 - ORDER 6                                  CUST1355                  FOUNDRY DIGITAL LLC FKA DCG    250 PARK AVENUE SOUTH, 5TH
                                                                                            FOUNDRY LLC                    FLOOR
                                                                                                                           NEW YORK, NY 10003

2. 24       2022-12-02 - MASTER SERVICES                          CUST1365                  GILLEY ENTERPRISES LLC         2015 2ND AVE UNIT 2902
            AGREEMENT AND ORDER FORM #1                                                                                    SEATTLE, WA 98121

2. 25       2022-12-07 - ORDER 2                                  CUST1366                  GILLEY ENTERPRISES LLC         2015 2ND AVE UNIT 2902
                                                                                                                           SEATTLE, WA 98121

2. 26       2022-01-06 - MASTER SERVICES                          CUST1370                  HOCKOMOCK MINING COMPANY       545 BOYLSTON STREET, 8TH
            AGREEMENT AND ORDER 1                                                                                          FLOOR
                                                                                                                           BOSTON, MA 02116

2. 27       2022-02-25 - ORDER 10                                 CUST1371                  HORIZON KINETICS LLC           470 PARK AVENUE SOUTH, 3RD
                                                                                                                           FLOOR
                                                                                                                           NEW YORK, NY 10016

2. 28       2022-02-25 - ORDER 10B                                CUST1373                  HORIZON KINETICS LLC           470 PARK AVENUE SOUTH, 3RD
                                                                                                                           FLOOR
                                                                                                                           NEW YORK, NY 10016

2. 29       2022-07-14 - MASTER SERVICES                          CUST1381                  NFN8 MEDIA, LLC                11615 ANGUS RD, SUITE 104C
            AGREEMENT                                                                                                      AUSTIN, TX 78759

2. 30       2022-07-19 - ORDER FORM 1 FOR MSA                     CUST1393                  NFN8 MEDIA, LLC                11615 ANGUS RD, SUITE 104C
            DATED 07/19/2022                                                                                               AUSTIN, TX 78759

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Core Scientific, Inc.                                                                                                            Case Number:          22-90341

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                 Expiration Date   Contract ID    Co-Debtor Name                                   Address



Customer Contracts

2. 31       2022-07-27 - MASTER SERVICES                          CUST1398                  QUANDEFI OPPORTUNITIES LLC            1177 AVENUE OF THE AMERICAS,
            AGREEMENT                                                                                                             FL 5
                                                                                                                                  NEW YORK, NY 10036

2. 32       2022-08-15 - ORDER 1                                  CUST1397                  QUANDEFI OPPORTUNITIES LLC            1177 AVENUE OF THE AMERICAS,
                                                                                                                                  FL 5
                                                                                                                                  NEW YORK, NY 10036

2. 33       2022-08-15 - MASTER SERVICES                          CUST1401                  UNION JACK LLC                        2800 NORTHUP WAY
            AGREEMENT (MSA2)                                                                                                      SUITE 100
                                                                                                                                  BELLEVUE, WA 98004

2. 34       2022-09-01 - ORDER 1 TO MSA DATED                     CUST1402                  UNION JACK LLC                        2800 NORTHUP WAY
            08/15/22                                                                                                              SUITE 100
                                                                                                                                  BELLEVUE, WA 98004

2. 35       2022-12-15 - ORDER 1                                  CUST1406                  US DIGITAL MINING AND HOSTING CO,     1200 WEST PLATT STREET
                                                                                            LLC                                   TAMPA, FL 33606

2. 36       2022-02-15 - ORDER 2                                  CUST1409                  US DIGITAL MINING AND HOSTING CO.,    1200 WEST PLATT STREET
                                                                                            LLC                                   TAMPA, FL 33606

2. 37       2022-08-29 - MASTER SERVICES                          CUST1407                  US DIGITAL MINING AND HOSTING CO.,    1200 WEST PLATT STREET
            AGREEMENT                                                                       LLC                                   TAMPA, FL 33606

2. 38       2022-11-15 - ORDER 3                                  CUST1408                  US DIGITAL MINING AND HOSTING CO.,    1200 WEST PLATT STREET
                                                                                            LLC                                   TAMPA, FL 33606

2. 39       2022-11-30 - ORDER FORM #4                            CUST1410                  US DIGITAL MINING AND HOSTING CO.,    1200 WEST PLATT STREET
                                                                                            LLC                                   TAMPA, FL 33606




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Core Scientific, Inc.                                                                                     Case Number:         22-90341

Schedule G: Executory Contracts and Unexpired Leases
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Employment Agreements

2. 40       2022-12-19 EMPLOYMENT             12/19/2023       EA1333                   CLINE KEZAR        210 BARTON SPRINGS ROAD
            AGREEMENTS - KEY EMPLOYEE                                                                      SUITE 300
            RETENTION BONUS AGREEMENT                                                                      AUSTIN, TX 78704

2. 41       2021-10-10 EMPLOYMENT                              EA1332                   DARIN FEINSTEIN    210 BARTON SPRINGS ROAD
            AGREEMENTS - EMPLOYMENT                                                                        SUITE 300
            AGREEMENT                                                                                      AUSTIN, NV 78704

2. 42       2022-12-19 EMPLOYMENT             12/19/2023       EA1334                   DENISE STERLING    210 BARTON SPRINGS ROAD
            AGREEMENTS - KEY EMPLOYEE                                                                      SUITE 300
            RETENTION BONUS AGREEMENT                                                                      AUSTIN, TX 78704

2. 43       2022-12-19 EMPLOYMENT             12/19/2023       EA1335                   GARRY FIFE         210 BARTON SPRINGS ROAD
            AGREEMENTS - KEY EMPLOYEE                                                                      SUITE 300
            RETENTION BONUS AGREEMENT                                                                      AUSTIN, TX 78704

2. 44       2022-12-19 EMPLOYMENT             12/19/2023       EA1336                   KATHARINE HALL     210 BARTON SPRINGS ROAD
            AGREEMENTS - KEY EMPLOYEE                                                                      SUITE 300
            RETENTION BONUS AGREEMENT                                                                      AUSTIN, TX 78704

2. 45       2022-12-19 EMPLOYMENT             12/19/2023       EA1337                   LANCE BOLENDER     210 BARTON SPRINGS ROAD
            AGREEMENTS - KEY EMPLOYEE                                                                      SUITE 300
            RETENTION BONUS AGREEMENT                                                                      AUSTIN, TX 78704

2. 46       2022-12-19 EMPLOYMENT             12/19/2023       EA1338                   MATTHEW BROWN      210 BARTON SPRINGS ROAD
            AGREEMENTS - KEY EMPLOYEE                                                                      SUITE 300
            RETENTION BONUS AGREEMENT                                                                      AUSTIN, TX 78704

2. 47       2022-12-19 EMPLOYMENT             12/19/2023       EA1339                   MAURICE WINTER     210 BARTON SPRINGS ROAD
            AGREEMENTS - KEY EMPLOYEE                                                                      SUITE 300
            RETENTION BONUS AGREEMENT                                                                      AUSTIN, TX 78704

2. 48       2021-10-10 EMPLOYMENT                              EA1331                   MICHAEL LEVITT     210 BARTON SPRINGS ROAD
            AGREEMENTS - AMENDED AND                                                                       SUITE 300
            RESTATED EMPLOYMENT AGREEMENT                                                                  AUSTIN, TX 78704

2. 49       2022-12-19 EMPLOYMENT             12/19/2023       EA1340                   TODD DUCHENE       210 BARTON SPRINGS ROAD
            AGREEMENTS - KEY EMPLOYEE                                                                      SUITE 300
            RETENTION BONUS AGREEMENT                                                                      AUSTIN, TX 78704

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Core Scientific, Inc.                                                                                       Case Number:           22-90341

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Equipment Leases & Sales

2. 50       EQUIPMENT LEASE                                   EQUIP1683                 HERC RENTALS INC     4637 W UNIVERSITY, DENTON, TX
                                                                                                             76207

2. 51       EQUIPMENT LEASE                                   EQUIP1684                 HERC RENTALS INC     4637 W UNIVERSITY, DENTON, TX
                                                                                                             76207

2. 52       EQUIPMENT LEASE                                   EQUIP1685                 HERC RENTALS INC     4637 W UNIVERSITY, DENTON, TX
                                                                                                             76207

2. 53       EQUIPMENT LEASE                                   EQUIP1686                 HERC RENTALS INC.    8282 IH 20 WESTMIDLAND, TX
                                                                                                             79706

2. 54       EQUIPMENT LEASE                                   EQUIP1687                 HERC RENTALS INC.    4637 W UNIVERSITY, DENTON, TX
                                                                                                             76207

2. 55       EQUIPMENT LEASE                                   EQUIP1688                 HERC RENTALS INC.    8282 IH 20 WEST, MIDLAND, TX
                                                                                                             79706

2. 56       EQUIPMENT LEASE                                   EQUIP1689                 HERC RENTALS INC.    4637 W UNIVERSITY, DENTON, TX
                                                                                                             76207

2. 57       EQUIPMENT LEASE                                   EQUIP1690                 HERC RENTALS INC.    2828 IH 20 WEST, MIDLAND, TX
                                                                                                             79706

2. 58       EQUIPMENT LEASE                                   EQUIP1691                 HERC RENTALS INC.    8282 IH 20 WESTMIDLAND, TX
                                                                                                             79706

2. 59       EQUIPMENT LEASE                                   EQUIP1692                 HERC RENTALS INC.    8282 IH 20 WESTMIDLAND, TX
                                                                                                             79706

2. 60       EQUIPMENT LEASE                                   EQUIP1693                 HERC RENTALS INC.    8282 IH 20 WESTMIDLAND, TX
                                                                                                             79706

2. 61       EQUIPMENT LEASE                                   EQUIP1694                 HERC RENTALS INC.    8282 H 20 WEST, MIDLAND, TX
                                                                                                             79706




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Core Scientific, Inc.                                                                                                 Case Number:           22-90341

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Equipment Leases & Sales

2. 62       EQUIPMENT LEASE                                   EQUIP1695                 HERC RENTALS INC.              8282 IH 20 WEST, MIDLAND, TX
                                                                                                                       79706

2. 63       EQUIPMENT LEASE                                   EQUIP1696                 HERC RENTALS INC.              8282 IH 20 WESTMIDLAND, TX
                                                                                                                       79706

2. 64       EQUIPMENT LEASE                                   EQUIP1697                 HERC RENTALS INC.              8282 IH 20 WESTMIDLAND, TX
                                                                                                                       79706

2. 65       EQUIPMENT LEASE                                   EQUIP1698                 HERC RENTALS INC.              8282 IH 20 WESTMIDLAND, TX
                                                                                                                       79706

2. 66       EQUIPMENT LEASE                                   EQUIP1699                 HERC RENTALS INC.              4901 CAREY STREET, FORT
                                                                                                                       WORTH, TX 76119

2. 67       EQUIPMENT LEASE                                   EQUIP1700                 HERC RENTALS, INC.             601 N GREAT SOUTHWEST PKWY,
                                                                                                                       ARLINGTON, TX 76011

2. 68       EQUIPMENT LEASE                                   EQUIP1701                 HERC RENTALS, INC.             8282 IH 20 WESTMIDLAND, TX
                                                                                                                       79706

2. 69       PO #PO 22-101-01620                               EQUIP1715                 TANMAR RENTALS, LLC            370 COUNTY ROAD 417
                                                                                                                       PECOS, TX 79772

2. 70       EQUIPMENT LEASE                                   EQUIP1702                 WASTE DISPOSAL SOLUTIONS OF    2307 W. CONE BLVD, SUITE 214,
                                                                                        NORTH CAROLINA, INC.           GREENSBORO, NC 27408

2. 71       STORAGE CONNEXES (RENTAL)                         EQUIP1716                 XC CONTAINER LLC               PO BOX 650212
                                                                                                                       DALLAS, TX 75265




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Core Scientific, Inc.                                                                                                          Case Number:           22-90341

Schedule G: Executory Contracts and Unexpired Leases
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IT & License Agreements

2. 72       2022-06-13 SOFTWARE/SUBSCRIPTION      2023-06-13       ITSERV1047                ALATION                            3 LAGOON DRIVE, SUITE
            SERVICES - ORDER #Q-06003-1                                                                                         300REDWOOD CITY, CA 94065

2. 73       MAY 11, 2020 SOFTWARE                                  ROYAL1433                 ANOTHER CRYPTO LLC                 NOT AVAILABLE
            INSTALLATION AGREEMENT (ROYALTY)

2. 74       OCT 31, 2019 SOFTWARE                                  ROYAL1432                 AVNET, INC.                        2211 S. 47TH STREET
            INSTALLATION AGREEMENT (ROYALTY)                                                                                    PHOENIX, AZ 85034

2. 75       2022-06-30 SOFTWARE/SUBSCRIPTION      2025-06-30       ITSERV1059                DATABRICKS, INC.                   160 SUPER STREET, SUITE
            SERVICES - MASTER CLOUD                                                                                             1300SAN FRANCISCO, CA 94105
            PLATFORM SERVICES ORDER FORM
            (Q-04327)

2. 76       2022-11-01 SOFTWARE/SUBSCRIPTION      2023-10-31       ITSERV1064                DOCUSIGN, INC.                     221 MAIN STREET, SUITE
            SERVICES - ORDER FORM (Q-00958456)                                                                                  1000SAN FRANCISCO, CA 94105

2. 77       2022-01-31 NETWORK SERVICES -         2023-01-31       ITSERV1072                IGEM COMMUNICATIONS LLC DBA        1870 W BITTERS ROAD SUITE
            SERVICE ORDER (100M LICENSE,                                                     GLOBALGIG                          103SAN ANTONIO, TX 78248
            DENTON)

2. 78       2022-07-13 NETWORK SERVICES -         2023-07-13       ITSERV1070                IGEM COMMUNICATIONS LLC DBA        1870 W BITTERS ROAD SUITE
            SERVICE ORDER (MUSOGEE)                                                          GLOBALGIG                          103SAN ANTONIO, TX 78248

2. 79       2022-02-10 NETWORK SERVICES -                          ITSERV1077                RESOUND NETWORKS LLC               PO BOX 1741 PAMPA, TX 79066
            BUSINESS SERVICE PROVIDER
            AGREEMENT

2. 80       2022-03-01 NETWORK SERVICES -                          ITSERV1075                RESOUND NETWORKS LLC               PO BOX 1741PAMPA, TX 79066
            BUSINESS SERVICE PROVIDER
            AGREEMENT

2. 81       2022-05-18 SOFTWARE/SUBSCRIPTION      2025-05-17       ITSERV1078                SALESFORCE, INC.                   415 MISSION STREET3RD
            SERVICES - ORDER FORM (Q-05763466)                                                                                  FLOORSAN FRANCISCO, CA 94105

2. 82       2022-05-13 SOFTWARE/SUBSCRIPTION      2023-05-13       ITSERV1079                TORO DATA LABS, INC. DBA BIGEYE    32 MANDALAY PL, SOUTH SAN
            SERVICES - ORDER FORM DATED                                                                                         FRANCISCO, CA 94080
            05/13/2022

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Core Scientific, Inc.                                                                                                         Case Number:         22-90341

Schedule G: Executory Contracts and Unexpired Leases
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IT & License Agreements

2. 83       2022-05-13 SOFTWARE/SUBSCRIPTION                     ITSERV1080                TORO DATA LABS, INC. DBA BIGEYE,    32 MANDALAY PL, SOUTH SAN
            SERVICES - SAAS MASTER SOFTWARE                                                INC.                                FRANCISCO, CA 94080
            AGREEMENT




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Core Scientific, Inc.                                                                                                    Case Number:          22-90341

Schedule G: Executory Contracts and Unexpired Leases
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Real Property

2. 84       FIBER OPTIC FACILITIES LEASE                          REAL1682                 CITY OF DENTON                 CITY MANAGERCITY OF
                                                                                                                          DENTON215 EAST MCKINNEY
                                                                                                                          STREET, DENTON, TX 76291

2. 85       2021-11-04 REAL PROPERTY -           2031-11-15       REAL1088                 JOBE RANCH FAMILY LIMITED      1150 SOUTHVIEW DRIVE, EL PASO,
            COTTONWOOD 1 DATASITE                                                          PARTNERSHIP                    TX 79928
            LOCATION - MEMO OF TERM SURFACE
            LEASE AGREEMENT

2. 86       2022-04-21 REAL PROPERTY -           2120-04-21       REAL1090                 JRC/RGC34 TRADE TRACTS, LTD    1415LOUISIANA STREET, SUITE
            COTTONWOOD 2 (50 ACRES) -                                                                                     1900, HOUSTON, TEXAS 77002
            MEMORANDUM OF SURFACE LEASE
            AGREEMENT

2. 87       2022-03-03 REAL PROPERTY - NEW TX    2032-03-03       REAL1095                 TRINITY MINING GROUP, INC.     105 NURSERY LANE, STE
            LOCATION - DATA CENTER SURFACE                                                                                110FORT WORTH, TX
            LEASE                                                                                                         76114ATTN: PARKER HANDLIN




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Core Scientific, Inc.                                                                                                        Case Number:           22-90341

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Suppliers

2. 88       2022-12-16 PURCHASE OF MINERS -                     SUPPLY1099                BITMAIN DEVELOPMENT PTD. LTD        1 RAFFLES PLACE, #36-01 ONE
            SALES AND PURCHASE AGREEMENT                                                                                      RAFFLES PLACE,SINGAPORE
                                                                                                                              048616

2. 89       2021-09-30 POWER RELATED - 1ST                      SUPPLY1110                NODAK ELECTRIC COOPERATIVE, INC.    4000 32ND AVE S, GRAND FORKS,
            ADDENDUM TO ELECTRIC SERVICE                                                                                      ND 58201
            AGREEMENT - PRAIRIE MINING SITE

2. 90       2022-02-15 POWER RELATED -                          SUPPLY1125                TENNESSEE VALLEY AUTHORITY (TVA)    26 CENTURY BLVD, SUITE
            CURTAILMENT PROGRAM - LOAD                                                                                        100NASHVILLE, TN 34214
            REDUCTION PLAN CERTIFICATION
            STATEMENT

2. 91       2022-03-04 PURCHASE OF MINERS -                     SUPPLY1130                VALIDUS POWER CORP.                 2B-1500 SANDHILL DRIVE,
            SALES AND PURCHASE AGREEMENT                                                                                      ANCASTER, ONTARIO L9G 4V5




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Core Scientific, Inc.                                                                                                          Case Number:            22-90341

Schedule G: Executory Contracts and Unexpired Leases
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All Other Agreements

2. 92       2021-01-25 OTHER PROFESSIONAL         2024-01-25       AOVS1134                 A TO Z PEST CONTROL AND SERVICES    4005 WOODLINE DRDALTON, GA
            SERVICES - PEST CONTROL                                                                                             30721
            AGREEMENT

2. 93       2021-01-25 PROFESSIONAL SERVICES -    2024-01-25       AOVS1131                 A TO Z PEST CONTROL AND SERVICES    4005 WOODLINE DRDALTON, GA
            PEST CONTROL AGREEMENT                                                                                              30721

2. 94       PEST CONTROL AGREEMENT                                 AOVS1462                 A TO Z PEST CONTROL AND SERVICES    4005 WOODLINE DRDALTON, GA
                                                                                                                                30721

2. 95       PEST CONTROL AGREEMENT                                 AOVS1465                 A TO Z PEST CONTROL AND SERVICES    4005 WOODLINE DRDALTON, GA
                                                                                                                                30721

2. 96       AMENDMENT 1 TO EQUIPMENT                               OTHER1434                ADQ FINANCIAL SERVICES LLC          FLOOR 10, CAPITAL GATE
            PROCUREMENT AGREEMENT                                                                                               BUILDING,ABU DHABI, UNITED
                                                                                                                                ARAB EMIRATES

2. 97       AMENDMENT 2 TO EQUIPMENT                               OTHER1435                ADQ FINANCIAL SERVICES LLC          FLOOR 10, CAPITAL GATE
            PROCUREMENT AGREEMENT                                                                                               BUILDING, ABUDHABI, UNITED
                                                                                                                                ARAB EMIRATES

2. 98       2022-06-13 SOFTWARE/SUBSCRIPTION      2023-06-13       AOVS1136                 ALATION                             3 LAGOON DRIVE, SUITE
            SERVICES - ORDER #Q-06003-1                                                                                         300REDWOOD CITY, CA 94065

2. 99       ORDER #Q-06003-1                                       AOVS1467                 ALATION                             3 LAGOON DRIVE, SUITE
                                                                                                                                300REDWOOD CITY, CA 94065

2. 100      PROPOSALS                                              AOVS1468                 ALLIED STEEL BUILDINGS, INC         6451 N FEDERAL HWYSUITE
                                                                                                                                411FORTLAUDERDALE FL 33308

2. 101      MASTER ADDENDUM                                        AOVS1469                 ALLIED STEEL BUILDINGS, INC.        6451 N. FEDERAL HIGHWAY, STE.
                                                                                                                                411FORT LAUDERDALE, FL 33308

2. 102      2022-08-26 SOFTWARE/SUBSCRIPTION                       AOVS1137                 ALTERYX, INC.                       17200 LAGUNA CANYON
            SERVICES - ORDER FORM #Q-328608                                                                                     ROADIRVINE, CA 92618

2. 103      ORDER FORM #Q-328608                                   AOVS1470                 ALTERYX, INC.                       17200 LAGUNA CANYON
                                                                                                                                ROADIRVINE, CA 92618

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Core Scientific, Inc.                                                                                                   Case Number:            22-90341

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All Other Agreements

2. 104      2022-08-06 TAX AND ACCOUNTING                      AOVS1140                 ANDERSEN TAX LLC                 1200 FIFTH AVE, STE 1600,
            SERVICES - ENGAGEMENT LETTER                                                                                 SEATTLE, WA 98101

2. 105      2022-08-11 TAX AND ACCOUNTING                      AOVS1141                 ANDERSEN TAX LLC                 1200 FIFTH AVE, STE 1600,
            SERVICES - ENGAGEMENT LETTER                                                                                 SEATTLE, WA 98101

2. 106      ENGAGEMENT LETTER                                  AOVS1474                 ANDERSEN TAX LLC                 1200 FIFTH AVE, STE 1600,
                                                                                                                         SEATTLE, WA 98101

2. 107      ENGAGEMENT LETTER                                  AOVS1475                 ANDERSEN TAX LLC                 1200 FIFTH AVE, STE 1600,
                                                                                                                         SEATTLE, WA 98101

2. 108      2022-08-31 SOFTWARE SERVICES -    2023-08-31       AOVS1143                 BITALPHA, INC.                   60 RUSSELL ST, SAN FRANCISCO,
            ORDER FORM                                                                                                   CA 94109

2. 109      ORDER FORM                                         AOVS1478                 BITALPHA, INC.                   60 RUSSELL ST, SAN FRANCISCO,
                                                                                                                         CA 94109

2. 110      2018-07-01 OTHER PROFESSIONAL     2023-07-01       AOVS1145                 BITGO, INC.                      2443 ASH STREET, PALO ALTO,
            SERVICES - CUSTODIAL TERMS AND                                                                               CALIFORNIA94306
            CONDITIONS

2. 111      2019-08-16 OTHER PROFESSIONAL     2023-07-01       AOVS1144                 BITGO, INC.                      2443 ASH STREET, PALO ALTO,
            SERVICES - CUSTODIAL TERMS AND                                                                               CALIFORNIA 94306
            CONDITIONS

2. 112      CUSTODIAL TERMS AND CONDITIONS                     AOVS1479                 BITGO, INC.                      2443 ASH STREET, PALO ALTO,
                                                                                                                         CALIFORNIA 94306

2. 113      CUSTODIAL TERMS AND CONDITIONS                     AOVS1480                 BITGO, INC.                      2443 ASH STREET, PALO ALTO,
                                                                                                                         CALIFORNIA94306

2. 114      LICENSE AGREEMENT FOR THE                          OTHER1440                BITMAIN TECHNOLOGY INC.          300 PARK AVENUE SUITE 100
            UNLOCKING SSH FIRMWARE                                                                                       SAN JOSE, CA 95110

2. 115      2022-08-24 HUMAN RESOURCE                          AOVS1146                 BLACKPEARL MANAGEMENT AND        PO BOX 63089, ABU DHABI, UNITED
            SERVICES IN UAE (KIZAD) -                                                   HUMAN RESOURCE CONSULTING LLC    ARAB EMIRATES
            ENGAGEMENT LETTER

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Core Scientific, Inc.                                                                                                        Case Number:             22-90341

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All Other Agreements

2. 116      ENGAGEMENT LETTER                                      AOVS1481                 BLACKPEARL MANAGEMENT AND         PO BOX 63089, ABU DHABI, UNITED
                                                                                            HUMAN RESOURCE CONSULTING LLC     ARAB EMIRATES

2. 117      HOST ACCOMMODATION AGREEMENT                           OTHER1443                BLOCKFI LENDING LLC               201 MONTGOMERY ST, SUITE 263,
            (ATLAS)                                                                                                           JERSEY CITY NJ 07302

2. 118      HOST ACCOMMODATION AGREEMENT                           OTHER1442                BLOCKFI LENDING LLC               201 MONTGOMERY ST, SUITE 263,
            (TYMIF)                                                                                                           JERSEY CITY NJ 07302

2. 119      2022-04-25 PROFESSIONAL SERVICES -    2025-04-25       AOVS1148                 BROADRIDGE INVESTOR               51 MERCEDES WAY, EDGEWOOD,
            SERVICES SCHEDULES                                                              COMMUNICATION SOLUTIONS, INC.     NY 11717

2. 120      SERVICES SCHEDULE                                      AOVS1484                 BROADRIDGE INVESTOR               51 MERCEDES WAY, EDGEWOOD,
                                                                                            COMMUNICATION SOLUTIONS, INC.     NY 11717

2. 121      2022-10-01 PROFESSIONAL SERVICES -    2025-10-01       AOVS1149                 C&W FACILITY SERVICES INC.        140 KENDRICK STREET, BUILDING
            MASTER SERVICES AGREEMENT FOR                                                                                     C WESTSUITE 201NEEDHAM,
            FACILITY SERVICES                                                                                                 MA 02494

2. 122      MASTER SERVICES AGREEMENT FOR                          AOVS1485                 C&W FACILITY SERVICES INC.        140 KENDRICK STREET, BUILDING
            FACILITY SERVICES                                                                                                 C WESTSUITE 201NEEDHAM,
                                                                                                                              MA 02494

2. 123      2019-08-06 CONSTRUCTION                                AOVS1150                 CALLAHAN MECHANICAL               2811 8TH AVENUE,
            SERVICES - PREVENTIVE HVAC                                                      CONTRACTORS                       CHATTANOOGA, TN 37407
            QUARTERLY MAINTENANCE PROPOSAL

2. 124      PREVENTIVE HVAC QUARTERLY                              AOVS1486                 CALLAHAN MECHANICAL               2811 8TH AVENUE,
            MAINTENANCE PROPOSAL                                                            CONTRACTORS                       CHATTANOOGA, TN 37407

2. 125      2022-02-15 BROKER SERVICES - PRIME                     AOVS1154                 COINBASE, INC.                    430 CALIFORNIA ST SAN
            BROKER AGREEMENT                                                                                                  FRANCISCO, CA 94104

2. 126      PRIME BROKER AGREEMENT                                 AOVS1490                 COINBASE, INC.                    430 CALIFORNIA ST SAN
                                                                                                                              FRANCISCO, CA 94104

2. 127      2022-04-12 PROFESSIONAL SERVICES -                     AOVS1155                 COMPENSATION ADVISORY PARTNERS    840 GESSNER SUITE 375.
            ENGAGEMENT LETTER                                                               LLC (CAP)                         HOUSTON, TX 77024

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All Other Agreements

2. 128      ENGAGEMENT LETTER                                      AOVS1491                 COMPENSATION ADVISORY PARTNERS    840 GESSNER SUITE 375.
                                                                                            LLC (CAP)                         HOUSTON, TX 77024

2. 129      2018-09-07 OTHER PROFESSIONAL                          AOVS1156                 COMPUTERSHARE INC.                250 ROYALL STREET, CANTON,
            SERVICES - TRANSFER AGENCY AND                                                                                    MASSACHUSETTS 02021
            SERVICE AGREEMENT

2. 130      TRANSFER AGENCY AND SERVICE                            AOVS1492                 COMPUTERSHARE INC.                250 ROYALL STREET, CANTON,
            AGREEMENT                                                                                                         MASSACHUSETTS 02021

2. 131      ELECTRICITY SUPPLY AGREEMENT                           AOVS1494                 CONSTELLATION NEWENERGY, INC.     1001 LOUISIANA ST.
                                                                                                                              CONSTELLATION SUITE
                                                                                                                              2300HOUSTON, TX 77002

2. 132      2022-01-11 SECURITY SERVICES -        2024-01-11       AOVS1159                 CONVERGINT TECHNOLOGIES LLC       ONE COMMERCE DRIVE,
            MASTER SERVICES AGREEMENT                                                                                         SCHAUMBURG, IL 60173

2. 133      2022-02-11 PROFESSIONAL SERVICES -                     AOVS1158                 CONVERGINT TECHNOLOGIES LLC       10535 BOYER BLVD, AUSTIN, TX
            QUOTE (#MS24400996P) AND TERMS                                                                                    78758

2. 134      2022-02-15 PROFESSIONAL SERVICES -                     AOVS1160                 CONVERGINT TECHNOLOGIES LLC       10535 BOYER BLVD, AUSTIN, TX
            QUOTE (#CH02421867P) AND TERMS                                                                                    78758

2. 135      MASTER SERVICES AGREEMENT                              AOVS1496                 CONVERGINT TECHNOLOGIES LLC       ONE COMMERCE DRIVE,
                                                                                                                              SCHAUMBURG, IL 60173

2. 136      QUOTE (#CH02421867P) AND TERMS                         AOVS1497                 CONVERGINT TECHNOLOGIES LLC       10535 BOYER BLVD, AUSTIN, TX
                                                                                                                              78758

2. 137      QUOTE (#MS24400996P) AND TERMS                         AOVS1495                 CONVERGINT TECHNOLOGIES LLC       10535 BOYER BLVD, AUSTIN, TX
                                                                                                                              78758

2. 138      CONTRACT FOR PROFESSIONAL                              AOVS1499                 CRESTLINE SOLUITONS, LLC          401 W 15TH STREET, SUITE 870,
            SERVICES                                                                                                          AUSTIN, TX 78701

2. 139      2022-02-04 TAX AND ACCOUNTING                          AOVS1169                 CSS PARTNERS, LLC                 PO BOX 21262, OKLAHOMA CITY,
            SERVICES - STATEMENT OF WORK                                                                                      OK 73156


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All Other Agreements

2. 140      STATEMENT OF WORK                                    AOVS1507                 CSS PARTNERS, LLC           PO BOX 21262, OKLAHOMA CITY,
                                                                                                                      OK 73156

2. 141      2022-06-30 SOFTWARE/SUBSCRIPTION    2025-06-30       AOVS1171                 DATABRICKS, INC.            160 SUPER STREET, SUITE
            SERVICES - MASTER CLOUD                                                                                   1300SAN FRANCISCO, CA 94105
            PLATFORM SERVICES ORDER FORM
            (Q-04327)

2. 142      MASTER CLOUD PLATFORM SERVICES                       AOVS1509                 DATABRICKS, INC.            160 SUPER STREET, SUITE
            ORDER FORM (Q-04327)                                                                                      1300SAN FRANCISCO, CA 94105

2. 143      2022-07-01 SOFTWARE SERVICES -      2023-07-01       AOVS1172                 DATASITE LLC                BAKER CENTER, 733 S
            STATEMENT OF WORK                                                                                         MARQUETTE AVE UNIT 600,
                                                                                                                      MINNEAPOLIS, MN 55402

2. 144      STATEMENT OF WORK                                    AOVS1510                 DATASITE LLC                BAKER CENTER, 733 S
                                                                                                                      MARQUETTE AVE UNIT 600,
                                                                                                                      MINNEAPOLIS, MN 55402

2. 145      2022-03-23 SOFTWARE SERVICES -                       AOVS1173                 DEGREE, INC. DBA LATTICE    360 SPEAR ST, FLOOR 4, SAN
            STATEMENT OF WORK                                                                                         FRANCISCO, CA 94105

2. 146      STATEMENT OF WORK                                    AOVS1511                 DEGREE, INC. DBA LATTICE    360 SPEAR ST, FLOOR 4, SAN
                                                                                                                      FRANCISCO, CA 94105

2. 147      2022-03-17 CONSTRUCTION                              AOVS1174                 DELCOM PARTNERS             610 S MAIN ST, DELL CITY, TX
            SERVICES - PROPOSAL (COT 2)                                                                               79837

2. 148      PROPOSAL (COT 2)                                     AOVS1512                 DELCOM PARTNERS             610 S MAIN ST, DELL CITY, TX
                                                                                                                      79837

2. 149      2022-01-26 TAX AND ACCOUNTING                        AOVS1175                 DELOITTE & TOUCHE LLP       695 TOWN CENTER DR. SUITE
            SERVICES - ENGAGEMENT LETTER                                                                              1000. COSTA MESA, CA 92626

2. 150      ENGAGEMENT LETTER                                    AOVS1513                 DELOITTE & TOUCHE LLP       695 TOWN CENTER DR. SUITE
                                                                                                                      1000. COSTA MESA, CA 92626



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Core Scientific, Inc.                                                                                                     Case Number:            22-90341

Schedule G: Executory Contracts and Unexpired Leases
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All Other Agreements

2. 151      ENGAGEMENT LETTER                                      AOVS1704                 DELOITTE & TOUCHE LLP          1015 SECOND AVENUE, SUITE 500,
                                                                                                                           SEATTLE, WA 98104

2. 152      ENGAGEMENT LETTER                                      AOVS1705                 DELOITTE FINANCIAL ADVISORY    110 MORRIS AVENUE,
                                                                                            SERVICES LLP                   MORRISTOWN, NJ 07960

2. 153      ENGAGEMENT LETTER                                      AOVS1706                 DELOITTE TAX LLP               555 MISSION STREET, SAN
                                                                                                                           FRANCISCO, CA 94105

2. 154      2022-07-20 TAX AND ACCOUNTING                          AOVS1176                 DELOITTE TRANSACTIONS AND      225 W SANTA CLARA ST, #600, SAN
            SERVICES - ENGAGEMENT LETTER                                                    BUSINESS ANALYTICS LLP         JOSE, CA 95113

2. 155      2022-10-22 TAX AND ACCOUNTING                          AOVS1177                 DELOITTE TRANSACTIONS AND      225 W SANTA CLARA ST, #600, SAN
            SERVICES - ENGAGEMENT LETTER                                                    BUSINESS ANALYTICS LLP         JOSE, CA 95113

2. 156      ENGAGEMENT LETTER                                      AOVS1514                 DELOITTE TRANSACTIONS AND      225 W SANTA CLARA ST, #600, SAN
                                                                                            BUSINESS ANALYTICS LLP         JOSE, CA 95113

2. 157      ENGAGEMENT LETTER                                      AOVS1515                 DELOITTE TRANSACTIONS AND      225 W SANTA CLARA ST, #600, SAN
                                                                                            BUSINESS ANALYTICS LLP         JOSE, CA 95113

2. 158      2022-05-25 TAX AND ACCOUNTING                          AOVS1178                 DELOITTE TX LLP                555 MISSION STREET, SAN
            SERVICES - ENGAGEMENT LETTER                                                                                   FRANCISCO, CA 94105

2. 159      ENGAGEMENT LETTER                                      AOVS1516                 DELOITTE TX LLP                555 MISSION STREET, SAN
                                                                                                                           FRANCISCO, CA 94105

2. 160      ORDER FORM                                             AOVS1707                 DENTON MUNICIPAL UTILITIES     601 E HIKORY ST, SUITE F,
                                                                                                                           DENTON, TX 76205

2. 161      2022-11-01 SOFTWARE/SUBSCRIPTION      2023-10-31       AOVS1179                 DOCUSIGN, INC.                 221 MAIN STREET, SUITE
            SERVICES - ORDER FORM (Q-00958456)                                                                             1000SAN FRANCISCO, CA 94105

2. 162      ORDER FORM (Q-00958456)                                AOVS1517                 DOCUSIGN, INC.                 221 MAIN STREET, SUITE
                                                                                                                           1000SAN FRANCISCO, CA 94105




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All Other Agreements

2. 163      AGREEMENT FOR SECURITY SERVICES                     AOVS1520                 EAGLE EYE INTERNATIONAL               4645 WYNDHAM LN STE
                                                                                         PROTECTIVE SERVICES, INC.             210FRISCO, TEXAS
                                                                                                                               75033UNITED STATES

2. 164      2018-09-28 OTHER PROFESSIONAL                       AOVS1181                 EGENCIA LLC                           333 108TH AVE. NE, BELLEVUE,
            SERVICES - US CORPORATE TRAVEL                                                                                     WASHINGTON98004
            SERVICES AGREEMENT

2. 165      US CORPORATE TRAVEL SERVICES                        AOVS1521                 EGENCIA LLC                           333 108TH AVE. NE, BELLEVUE,
            AGREEMENT                                                                                                          WASHINGTON98004

2. 166      APPLICATION FOR REGISTRATION                        OTHER1444                ELECTRIC RELIABILITY COUNCIL OF TX    8000 METROPOLIS DRIVE
                                                                                         (ERCOT)                               (BUILDING E), SUITE 100AUSTIN,
                                                                                                                               TX 78744

2. 167      POWER OF ATTORNEY                                   OTHER1445                EMO NORTH CUSTOMERS BROKERS           7420 AIRPORT RD, SUITE 108,
                                                                                         LTD                                   MISSISSAUGA, ONTARIO L4T4E5

2. 168      2018-12-18 TAX AND ACCOUNTING      2024-12-18       AOVS1185                 ERNST & YOUNG LLP                     SUITE 900, 920 FIFTH
            SERVICES - STATEMENT OF WORK                                                                                       AVENUE,SEATTLE 98104

2. 169      2022-01-21 TAX AND ACCOUNTING                       AOVS1184                 ERNST & YOUNG LLP                     920 FIFTH AVENUE, SUITE 900,
            SERVICES - ENGAGEMENT LETTER                                                                                       SEATTLE WA 98104

2. 170      ENGAGEMENT LETTER                                   AOVS1524                 ERNST & YOUNG LLP                     920 FIFTH AVENUE, SUITE 900,
                                                                                                                               SEATTLE WA 98104

2. 171      STATEMENT OF WORK                                   AOVS1525                 ERNST & YOUNG LLP                     SUITE 900, 920 FIFTH
                                                                                                                               AVENUE,SEATTLE 98104

2. 172      LETTER AGREEMENT RE ROOF                            AOVS1526                 FELKER CONSTRUCTION CO, INC.          PO BOX 1647, DALTON, GA 30722
            DEFLECTORS AT DALTON

2. 173      2019-06-07 LEGAL SERVICES -                         AOVS1188                 FISHMAN STEWART PLLC                  39533 WOODWARD AVE., STE.
            ENGAGEMENT LETTER                                                                                                  140BLOOMFIELD HILLS,
                                                                                                                               MICHIGAN 48304



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2. 174      ENGAGEMENT LETTER                                      AOVS1530                 FISHMAN STEWART PLLC                   39533 WOODWARD AVE., STE.
                                                                                                                                   140BLOOMFIELD HILLS,
                                                                                                                                   MICHIGAN 48304

2. 175      2019-03-01 PROFESSIONAL SERVICES -    2022-03-01       AOVS1189                 FIVE STAR FOOD SERVICES, INC. (FIVE    6005 CENTURY OAKS DRIVE,
            VENDING SERVICES AGREEMENT                                                      STAR)                                  SUITE 100, CHATTANOOGA, TN
                                                                                                                                   37416

2. 176      VENDING SERVICES AGREEMENT                             AOVS1531                 FIVE STAR FOOD SERVICES, INC. (FIVE    6005 CENTURY OAKS DRIVE,
                                                                                            STAR)                                  SUITE 100, CHATTANOOGA, TN
                                                                                                                                   37416

2. 177      PROPOSAL (Q#0240668646)                                AOVS1541                 GRAYBAR ELECTRIC COMPANY INC           7055 S DECATUR BLVD STE 100,
                                                                                                                                   LAS VEGAS NV 89118

2. 178      2022-03-08 LEGAL SERVICES -                            AOVS1194                 GREENBERG TRAURIG, LLP                 GRIFFITH PEAK DRIVE, SUITE 600,
            ENGAGEMENT LETTER                                                                                                      LAS VEGAS, NV 89135

2. 179      ENGAGEMENT LETTER                                      AOVS1542                 GREENBERG TRAURIG, LLP                 GRIFFITH PEAK DRIVE, SUITE 600,
                                                                                                                                   LAS VEGAS, NV 89135

2. 180      UNDERLYING TERMS AND SOW                               AOVS1543                 HARPER CONSTRUCTION COMPANY            2241 KETTNER BLVD, SUITE 300,
                                                                                            INC                                    SAN DIEGO, CA 92101

2. 181      2022-01-19 PROFESSIONAL SERVICES -                     AOVS1195                 HEAPY                                  1400 W DOROTHY LANE, DAYTON,
            LETTER AGREEMENT RE PEER                                                                                               OH 45409
            PROGRAM MANAGEMENT SERVICES

2. 182      LETTER AGREEMENT RE PEER                               AOVS1544                 HEAPY                                  1400 W DOROTHY LANE, DAYTON,
            PROGRAM MANAGEMENT SERVICES                                                                                            OH 45409

2. 183      2022-02-18 PROFESSIONAL SERVICES -                     AOVS1196                 HIREQUEST, INC.,DBA SNELLING           111 SPRINGHALL DR.GOOSE
            ENGAGEMENT LETTER                                                               STAFFING SERVICES                      CREEK, SC 29445

2. 184      ENGAGEMENT LETTER                                      AOVS1547                 HIREQUEST, INC.,DBA SNELLING           111 SPRINGHALL DR.GOOSE
                                                                                            STAFFING SERVICES                      CREEK, SC 29445



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Core Scientific, Inc.                                                                                                        Case Number:            22-90341

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2. 185      2022-12-19 TAX AND ACCOUNTING                          AOVS1197                 HORNE LLP                          661 SUNNYBROOK ROAD SUITE
            SERVICES - ENGAGEMENT LETTER                                                                                       100RIDGELAND, MISSISSIPPI
                                                                                                                               39157UNITED STATES

2. 186      ENGAGEMENT LETTER                                      AOVS1549                 HORNE LLP                          661 SUNNYBROOK ROAD SUITE
                                                                                                                               100RIDGELAND, MISSISSIPPI
                                                                                                                               39157UNITED STATES

2. 187      CORPORATE RATE AGREEMENT                               AOVS1553                 HYATT REGENCY AUSTIN               208 BARTON SPRINGS RD
                                                                                                                               AUSTIN, TX 78704

2. 188      2018-10-19 PROFESSIONAL SERVICES -                     AOVS1198                 INFLECTION RISK SOLUTIONS, LLC DBA 555 TWIN DOLPHIN DRIVE SUITE
            ORDER FORM (#C-41993)                                                           GOODHIRE                           #200, REDWOOD CITY, CA 94065

2. 189      PROFESSIONAL SERVICES                                  AOVS1554                 INFLECTION RISK SOLUTIONS, LLC DBA 555 TWIN DOLPHIN DRIVE SUITE
            AGREEMENT                                                                       GOODHIRE                           #200, REDWOOD CITY, CA 94065

2. 190      2022-04-29 SOFTWARE SERVICES -                         AOVS1201                 IRONCLAD, INC.                     71 STEVENSON ST #600, SAN
            ORDER FORM                                                                                                         FRANCISCO, CA 94105

2. 191      ORDER FORM                                             AOVS1557                 IRONCLAD, INC.                     71 STEVENSON ST #600, SAN
                                                                                                                               FRANCISCO, CA 94105

2. 192      2022-11-02 LEGAL SERVICES -                            AOVS1202                 JACKSON WALKER LLP                 100 CONGRESS AVENUE, STE
            ENGAGEMENT LETTER                                                                                                  1100, AUSTIN, TX 78701

2. 193      ENGAGEMENT LETTER                                      AOVS1561                 JACKSON WALKER LLP                 100 CONGRESS AVENUE, STE
                                                                                                                               1100, AUSTIN, TX 78701

2. 194      NON-EXCLUSIVE EASEMENT                                 OTHER1448                JRC/RGC34 TRADE TRACTS, LTD.       1415 LOUISIANA STREET, SUITE
            AGREEMENT                                                                                                          1900, HOUSTON, TX 77002

2. 195      2022-02-24 PROFESSIONAL SERVICES -                     AOVS1203                 KELLY SERVICES, INC.               999 W. BIG BEAVER ROADTROY,
            CUSTOMER SERVICES AGREEMENT                                                                                        MI 48084

2. 196      CUSTOMER SERVICES AGREEMENT                            AOVS1562                 KELLY SERVICES, INC.               999 W. BIG BEAVER ROADTROY,
                                                                                                                               MI 48084


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All Other Agreements

2. 197      STATEMENT OF WORK FOR CORE                           AOVS1563                 KLDISCOVERY ONTRACK, LLC           8201 GREENSBORO DRIVE, SUITE
            SCIENTIFIC                                                                                                       300, MCLEAN, VA 22102

2. 198      STATEMENT OF WORK FOR CORE                           AOVS1708                 KLDISCOVERY ONTRACK, LLC           8201 GREENSBORO DRIVE, SUITE
            SCIENTIFIC                                                                                                       300, MCLEAN, VA 22102

2. 199      2022-02-09 TAX AND ACCOUNTING                        AOVS1204                 KPMG LLP                           1918 EIGHTH AVENUE, SUITE 2900,
            SERVICES - ENGAGEMENT LETTER                                                                                     SEATTLE, WA 98101

2. 200      ENGAGEMENT LETTER                                    AOVS1564                 KPMG LLP                           1918 EIGHTH AVENUE, SUITE 2900,
                                                                                                                             SEATTLE, WA 98101

2. 201      2022-08-02 STAFFING SERVICES -                       AOVS1205                 L.C. PERSONNEL, INC. (DBA LABOR    PO BOX 2555DENTON, TX 76202
            QUOTE NO 21-19-1276                                                           FINDERS)

2. 202      QUOTE NO 21-19-1276                                  AOVS1565                 L.C. PERSONNEL, INC. (DBA LABOR    PO BOX 2555DENTON, TX 76202
                                                                                          FINDERS)

2. 203      SERVICE AGREEMENT                                    AOVS1709                 LANCASTER SAFETY CONSULTING, INC. 100 BRADFORD ROAD, SUITE 100,
                                                                                                                            WEXFORD, PA 15090

2. 204      2022-08-18 RECRUITING SERVICES -                     AOVS1206                 LINKEDIN CORPORATION               1000 W. MAUDE AVENUE,
            ORDER FORM (FLD8134728054)                                                                                       SUNNYVALE, CA 94085 USA

2. 205      ORDER FORM (FLD8134728054)                           AOVS1566                 LINKEDIN CORPORATION               1000 W. MAUDE AVENUE,
                                                                                                                             SUNNYVALE, CA 94085 USA

2. 206      AIA DOCUMENT A101-2017                               AOVS1578                 LML SERVICES LLC DBA FLOWTX        PO BOX 90504, SAN ANTONIO, TX
                                                                                                                             78209

2. 207      CHANGE ORDER 01                                      AOVS1574                 LML SERVICES LLC DBA FLOWTX        PO BOX 90504, SAN ANTONIO, TX
                                                                                                                             78209

2. 208      CHANGE ORDER 02                                      AOVS1571                 LML SERVICES LLC DBA FLOWTX        PO BOX 90504, SAN ANTONIO, TX
                                                                                                                             78209




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2. 209      CHANGE ORDER NO 001                                 AOVS1570                 LML SERVICES LLC DBA FLOWTX     PO BOX 90504, SAN ANTONIO, TX
                                                                                                                         78209

2. 210      CHANGE ORDER NO. 01 (MASS                           AOVS1573                 LML SERVICES LLC DBA FLOWTX     PO BOX 90504, SAN ANTONIO, TX
            GRADING AMENDMENT)                                                                                           78209

2. 211      DBIA NO. 535 (UNDERLYING TERMS                      AOVS1575                 LML SERVICES LLC DBA FLOWTX     PO BOX 90504, SAN ANTONIO, TX
            FOR COT 2) FOR FLOWTX                                                                                        78209

2. 212      2022-12-29 - ASIC PRICING AND                       AOVS1207                 LUXOR TECHNOLOGY CORPORATION    1100 BELLEVUE WAY NE SUITE 8A
            MARKET VOLUME DATA                                                                                           #514
                                                                                                                         BELLEVUE, WA 98004

2. 213      ASIC PRICING AND MARKET VOLUME                      AOVS1579                 LUXOR TECHNOLOGY CORPORATION    1100 BELLEVUE WAY NE SUITE 8A
            DATA                                                                                                         #514
                                                                                                                         BELLEVUE, WA 98004

2. 214      ASIC PRICING AND MARKET VOLUME                      AOVS1710                 LUXOR TECHNOLOGY CORPORATION    1100 BELLEVUE WAY NE SUITE 8A
            DATA                                                                                                         #514
                                                                                                                         BELLEVUE, WA 98004

2. 215      2019-05-20 HUMAN RESOURCE                           AOVS1208                 MANPOWERGROUP US INC.           100 MANPOWER PLACE,
            SERVICES - TERMS AND CONDITIONS                                                                              MILWAUKEE, WISCONSIN53212

2. 216      TERMS AND CONDITIONS                                AOVS1584                 MANPOWERGROUP US INC.           100 MANPOWER PLACE,
                                                                                                                         MILWAUKEE, WISCONSIN53212

2. 217      2022-10-24 TAX AND ACCOUNTING                       AOVS1209                 MARCUM LLP                      777 S. FIGUEROA STREET, SUITE
            SERVICES - ENGAGEMENT LETTER                                                                                 2900, LOS ANGELES, CA 90017

2. 218      ENGAGEMENT LETTER                                   AOVS1585                 MARCUM LLP                      777 S. FIGUEROA STREET, SUITE
                                                                                                                         2900, LOS ANGELES, CA 90017

2. 219      2022-01-21 LEGAL SERVICES -                         AOVS1210                 MCDERMOTT WILL & EMERY LLP      ONE VANDERBILT AVENUE NEW
            ENGAGEMENT LETTER                                                                                            YORK NY 10017

2. 220      ENGAGEMENT LETTER                                   AOVS1590                 MCDERMOTT WILL & EMERY LLP      ONE VANDERBILT AVENUE NEW
                                                                                                                         YORK NY 10017

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2. 221      LETTER AGREEMENT RE ADDITIONAL                         AOVS1592                 MJDII ARCHITECTS, INC.             16775 ADDISON ROAD, SUITE
            SERVICES NO. 1                                                                                                     310ADDISON, TX 75001

2. 222      2022-01-31 PROFESSIONAL SERVICES -                     AOVS1214                 MOSS ADAMS LLP                     999 THIRD AVE, SUITE 2800,
            ADDENDUM TO STATEMENT OF WORK                                                                                      SEATTLE, WA 98104

2. 223      ADDENDUM TO STATEMENT OF WORK                          AOVS1597                 MOSS ADAMS LLP                     999 THIRD AVE, SUITE 2800,
                                                                                                                               SEATTLE, WA 98104

2. 224      2022-09-16 PROFESSIONAL SERVICES -                     AOVS1215                 MP2 ENERGY LLC (A SHELL            21 WATERWAY AVENUE
            MASTER ENERGY SALES AGREEMENT                                                   SUBSIDIARY)                        SUITE 450
                                                                                                                               THE WOODLANDS, TX 77380

2. 225      MASTER ENERGY SALES AGREEMENT                          AOVS1598                 MP2 ENERGY LLC (A SHELL            21 WATERWAY AVENUE
                                                                                            SUBSIDIARY)                        SUITE 450
                                                                                                                               THE WOODLANDS, TX 77380

2. 226      SPECIAL PREPAYMENT AGREEMENT                           OTHER1452                MURPHY POWER BOARD                 PO BOX 1009MURPHY, NC 28906


2. 227      2022-03-16 SOFTWARE SERVICES -        2023-03-31       AOVS1220                 NETGAIN SOLUTIONS, INC.            7800 S ELATI ST. SUITE 300,
            ORDER FORM (Q #NG1203)                                                                                             LITTLETON, CO 80120

2. 228      ORDER FORM (Q #NG1203)                                 AOVS1603                 NETGAIN SOLUTIONS, INC.            7800 S ELATI ST. SUITE 300,
                                                                                                                               LITTLETON, CO 80120

2. 229      ENCROACHMENT ON EASEMENT                               OTHER1455                ONCOR ELECTRIC DELIVERY COMPANY 777 MAIN ST, SUITE 1311, FT.
                                                                                            LLC                             WORTH, TX 76102

2. 230      2022-10-05 HUMAN RESOURCE                              AOVS1222                 ŌNIN STAFFING, LLC                 3800 COLONNADEPARKWAY,
            SERVICES (DENTON, TX) - STAFFING                                                                                   SUITE 300, BIRMINGHAM, AL 35243
            AGREEMENT

2. 231      STAFFING AGREEMENT                                     AOVS1605                 ŌNIN STAFFING, LLC                 3800 COLONNADEPARKWAY,
                                                                                                                               SUITE 300, BIRMINGHAM, AL 35243

2. 232      2018-02-27 SOFTWARE/SUBSCRIPTION      2023-02-27       AOVS1223                 ORACLE AMERICA, INC.               500 ORACLE
            SERVICES - SUBSCRIPTION SERVICES                                                                                   PARKWAYREDWOOD SHORES,
            AGREEMENT AND SOW                                                                                                  CA 94065
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2. 233      SUBSCRIPTION SERVICES                                AOVS1606                 ORACLE AMERICA, INC.        500 ORACLE
            AGREEMENT AND SOW                                                                                         PARKWAYREDWOOD SHORES,
                                                                                                                      CA 94065

2. 234      2019-02-20 CONSULTING SERVICES -                     AOVS1225                 ORGDEV LLC                  45 PRINCETON
            MASTER CONSULTING AGREEMENT                                                                               CIRCLELONGMONT CO 80503

2. 235      MASTER CONSULTING AGREEMENT                          AOVS1608                 ORGDEV LLC                  45 PRINCETON
                                                                                                                      CIRCLELONGMONT CO 80503

2. 236      2022-04-06 HUMAN RESOURCE                            AOVS1226                 PEOPLEREADY, INC.           PO BOX 676412, DALLAS, TX 75267-
            SERVICES - OFFER TO SUPPLY                                                                                6412
            TEMPORARY ASSOCIATES

2. 237      OFFER TO SUPPLY TEMPORARY                            AOVS1609                 PEOPLEREADY, INC.           PO BOX 676412, DALLAS, TX 75267-
            ASSOCIATES                                                                                                6412

2. 238      2022-03-09 LEGAL SERVICES -                          AOVS1232                 QUINN EMANUEL URQUHART &    51 MADISON AVENUE, 22ND
            ENGAGEMENT LETTER                                                             SULLIVAN, LLP               FLOORNEW YORK, NY 10010

2. 239      2022-03-09 LEGAL SERVICES -                          AOVS1235                 QUINN EMANUEL URQUHART &    51 MADISON AVENUE, 22ND
            ENGAGEMENT LETTER                                                             SULLIVAN, LLP               FLOOR, NEW YORK, NEW YORK
                                                                                                                      10010

2. 240      2022-04-12 LEGAL SERVICES -                          AOVS1234                 QUINN EMANUEL URQUHART &    51 MADISON AVENUE, 22ND
            ENGAGEMENT LETTER                                                             SULLIVAN, LLP               FLOOR, NEW YORK, NEW YORK
                                                                                                                      10010

2. 241      2022-06-24 LEGAL SERVICES -                          AOVS1233                 QUINN EMANUEL URQUHART &    51 MADISON AVENUE, 22ND
            ENGAGEMENT LETTER                                                             SULLIVAN, LLP               FLOOR, NEW YORK, NEW YORK
                                                                                                                      10010

2. 242      2022-08-08 LEGAL SERVICES -                          AOVS1236                 QUINN EMANUEL URQUHART &    1300 I STREET NW, SUITE
            ENGAGEMENT LETTER                                                             SULLIVAN, LLP               900WASHINGTON, DC 20005-3314

2. 243      2022-09-20 LEGAL SERVICES -                          AOVS1237                 QUINN EMANUEL URQUHART &    865 SOUTH FIGUEROA
            ENGAGEMENT LETTER                                                             SULLIVAN, LLP               STREET10TH FLOORLOS
                                                                                                                      ANGELES, CA

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2. 244      ENGAGEMENT LETTER                                        AOVS1616                 QUINN EMANUEL URQUHART &         51 MADISON AVENUE, 22ND
                                                                                              SULLIVAN, LLP                    FLOORNEW YORK, NY 10010

2. 245      ENGAGEMENT LETTER                                        AOVS1617                 QUINN EMANUEL URQUHART &         51 MADISON AVENUE, 22ND
                                                                                              SULLIVAN, LLP                    FLOOR, NEW YORK, NEW YORK
                                                                                                                               10010

2. 246      ENGAGEMENT LETTER                                        AOVS1618                 QUINN EMANUEL URQUHART &         51 MADISON AVENUE, 22ND
                                                                                              SULLIVAN, LLP                    FLOOR, NEW YORK, NEW YORK
                                                                                                                               10010

2. 247      ENGAGEMENT LETTER                                        AOVS1619                 QUINN EMANUEL URQUHART &         51 MADISON AVENUE, 22ND
                                                                                              SULLIVAN, LLP                    FLOOR, NEW YORK, NEW YORK
                                                                                                                               10010

2. 248      ENGAGEMENT LETTER                                        AOVS1620                 QUINN EMANUEL URQUHART &         1300 I STREET NW, SUITE
                                                                                              SULLIVAN, LLP                    900WASHINGTON, DC 20005-3314

2. 249      ENGAGEMENT LETTER                                        AOVS1621                 QUINN EMANUEL URQUHART &         865 SOUTH FIGUEROA
                                                                                              SULLIVAN, LLP                    STREET10TH FLOORLOS
                                                                                                                               ANGELES, CA

2. 250      RETAINED SEARCH AGREEMENT AND                            AOVS1623                 REFFETT ASSOCIATES LTD.          11900 NE 1ST STREET, SUITE 300,
            FEE SCHEDULE                                                                                                       BELLEVUE, WA 98005

2. 251      SERVICE AGREEMENT NO. 00243668 &                         AOVS9999                 REGULATORY DATACORP, INC.        211 S. GULPH ROAD #125
            00243627- EFFECTIVE DATE: 05/06/2022                                                                               KING OF PRUSSIA, PA 19406

2. 252      ENGAGEMENT LETTER FOR SANDRA                             AOVS1626                 RESOURCES CONNECTION LLC DBA   PO BOX 740909
            JALUFKA                                                                           RESOURCES GLOBAL PROFESSIONALS LOS ANGELES, CA 90074-0909

2. 253      2022-05-18 SOFTWARE/SUBSCRIPTION        2025-05-17       AOVS1240                 SALESFORCE, INC.                 415 MISSION STREET3RD
            SERVICES - ORDER FORM (Q-05763466)                                                                                 FLOORSAN FRANCISCO, CA 94105

2. 254      ORDER FORM (Q-05763466)                                  AOVS1628                 SALESFORCE, INC.                 415 MISSION STREET3RD
                                                                                                                               FLOORSAN FRANCISCO, CA 94105



                                                                     Page 26 of 33 to Schedule G
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Core Scientific, Inc.                                                                                                          Case Number:           22-90341

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                  Expiration Date   Contract ID   Co-Debtor Name                                 Address



All Other Agreements

2. 255      2022-12-19 LEGAL SERVICES -                            AOVS1241                 SCHEEF & STONE, LLP                 500 NORTH AKARD STREETSUITE
            ENGAGEMENT LETTER                                                                                                   2700DALLAS, TEXAS 75201

2. 256      ENGAGEMENT LETTER                                      AOVS1629                 SCHEEF & STONE, LLP                 500 NORTH AKARD STREETSUITE
                                                                                                                                2700DALLAS, TEXAS 75201

2. 257      2022-02-15 PROFESSIONAL SERVICES -                     AOVS1243                 SECURITAS SECURITY SERVICES USA,    2780 SNELLING AVENUE NORTH,
            ADDITIONAL SITE ADDENDUM (TO ADD                                                INC.                                ROSEVILLE, MN 55113
            DENTON LOCATION)

2. 258      2022-04-04 PROFESSIONAL SERVICES -                     AOVS1248                 SECURITAS SECURITY SERVICES USA,    2780 SNELLING AVENUE NORTH,
            ADDITIONAL SITE ADDENDUM (ADD                                                   INC.                                ROSEVILLE, MN 55113
            CEDARVALE LOCATION)

2. 259      2022-04-15 PROFESSIONAL SERVICES -                     AOVS1245                 SECURITAS SECURITY SERVICES USA,    2780 SNELLING AVENUE NORTH,
            ADDITIONAL SITE ADDENDUM (ADD                                                   INC.                                ROSEVILLE, MN 55113
            COTTONWOOD LOCATION)

2. 260      ADDITIONAL SITE ADDENDUM (ADD                          AOVS1636                 SECURITAS SECURITY SERVICES USA,    2780 SNELLING AVENUE NORTH,
            CEDARVALE LOCATION)                                                             INC.                                ROSEVILLE, MN 55113

2. 261      ADDITIONAL SITE ADDENDUM (ADD                          AOVS1633                 SECURITAS SECURITY SERVICES USA,    2780 SNELLING AVENUE NORTH,
            COTTONWOOD LOCATION)                                                            INC.                                ROSEVILLE, MN 55113

2. 262      ADDITIONAL SITE ADDENDUM (TO ADD                       AOVS1631                 SECURITAS SECURITY SERVICES USA,    2780 SNELLING AVENUE NORTH,
            DENTON LOCATION)                                                                INC.                                ROSEVILLE, MN 55113

2. 263      2022-04-28 SOFTWARE SERVICES -                         AOVS1249                 SMARTSHEET, INC                     10500 NE 8TH STREET, SUITE 1300.
            ORDER FORM Q-1876421                                                                                                BELLEVUE, WA 98004

2. 264      ORDER FORM Q-1876421                                   AOVS1637                 SMARTSHEET, INC                     10500 NE 8TH STREET, SUITE 1300.
                                                                                                                                BELLEVUE, WA 98004

2. 265      2022-07-26 SOFTWARE SERVICES -        2023-04-27       AOVS1250                 SMARTSHEET, INC.                    10500 NE 8TH STREET, SUITE 1300.
            ORDER FORM (Q2165589)                                                                                               BELLEVUE, WA 98004

2. 266      ORDER FORM (Q2165589)                                  AOVS1638                 SMARTSHEET, INC.                    10500 NE 8TH STREET, SUITE 1300.
                                                                                                                                BELLEVUE, WA 98004

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Core Scientific, Inc.                                                                                                    Case Number:           22-90341

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                  Expiration Date   Contract ID   Co-Debtor Name                           Address



All Other Agreements

2. 267      2022-04-28 LEGAL SERVICES -                            AOVS1251                 SNELL & WILMER                3883 HOWARD HUGHES PARKWAY
            ENGAGEMENT LETTER                                                                                             SUITE 1100, LAS VEGAS, NV 89169

2. 268      ENGAGEMENT LETTER                                      AOVS1639                 SNELL & WILMER                3883 HOWARD HUGHES PARKWAY
                                                                                                                          SUITE 1100, LAS VEGAS, NV 89169

2. 269      2022-06-14 PROFESSIONAL SERVICES -                     AOVS1252                 SNELLING EMPLOYMENT, LLC      111 SPRINGHALL DR.GOOSE
            ENGAGEMENT LETTER                                                                                             CREEK, SC 29445

2. 270      ENGAGEMENT LETTER                                      AOVS1640                 SNELLING EMPLOYMENT, LLC      111 SPRINGHALL DR.GOOSE
                                                                                                                          CREEK, SC 29445

2. 271      2022-02-15 PROFESSIONAL SERVICES -                     AOVS1253                 STERNHELL GROUP               1201 NEW YORK NW, SUITE 900,
            AGREEMENT                                                                                                     WASHINGTON, DC 20005

2. 272      AGREEMENT                                              AOVS1641                 STERNHELL GROUP               1201 NEW YORK NW, SUITE 900,
                                                                                                                          WASHINGTON, DC 20005

2. 273      SERVICES AGREEMENT                                     AOVS1642                 STRETTO, INC.                 410 EXCHANGE, STE 100IRVINE,
                                                                                                                          CA 92602

2. 274      2019-03-11 ADVERTISING, MARKETING     2023-03-11       AOVS1254                 STROZ FRIEDBERG, LLC          ONELIBERTY PLAZA, 165
            AND PUBLIC RELATIONS SERVICES -                                                                               BROADWAY, SUITE 3201, NEW
            MASTER SERVICES AGREEMENT                                                                                     YORK, NY 10006

2. 275      MASTER SERVICES AGREEMENT                              AOVS1643                 STROZ FRIEDBERG, LLC          ONELIBERTY PLAZA, 165
                                                                                                                          BROADWAY, SUITE 3201, NEW
                                                                                                                          YORK, NY 10006

2. 276      TERMINATION AGREEMENT OF SALES                         OTHER1456                SUPERACME TECHNOLOGY (HONG    FLAT/RM A 12/F KIU FU COMM
            CONTRACT                                                                        KONG) LIMITED                 BLDG 300 LOCKHART RD WAN
                                                                                                                          CHAIHONGKONG

2. 277      2020-02-25 PROFESSIONAL SERVICES -                     AOVS1256                 TEMPS PLUS, INC.              601 SOUTH THORNTON AVE,
            STATEMENT OF WORK                                                                                             DALTON, GA 30720

2. 278      STATEMENT OF WORK                                      AOVS1651                 TEMPS PLUS, INC.              601 SOUTH THORNTON AVE,
                                                                                                                          DALTON, GA 30720

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Core Scientific, Inc.                                                                                                           Case Number:           22-90341

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                  Expiration Date   Contract ID   Co-Debtor Name                                  Address



All Other Agreements

2. 279      2020-01-28 PROFESSIONAL SERVICES -                     AOVS1257                 TEMPSPLUS OF PADUCAH, INC.           4720 VILLAGE SQUARE DRIVE,
            MUTUALLY AGREEABLE STAFFING                                                                                          SUITE A, PADUCAH, KY 42001
            AGREEMENT

2. 280      MUTUALLY AGREEABLE STAFFING                            AOVS1652                 TEMPSPLUS OF PADUCAH, INC.           4720 VILLAGE SQUARE DRIVE,
            AGREEMENT                                                                                                            SUITE A, PADUCAH, KY 42001

2. 281      AMENDMENT TO DEVELOPMENT                               OTHER1457                TENASKA COLOCATION SERVICES, LLC     14302 FNB PARKWAY OMAHA, NE
            AGREEMENT                                                                                                            68154

2. 282      2022-02-01 PROFESSIONAL SERVICES -                     AOVS1258                 TENASKA POWER SERVICES CO.           300 E JOHN CARPENTER
            AGREEMENT TO PROVIDE ASSET                                                                                           FREEWAY, SUITE 1100, IRVING,
            MANAGEMENT SERVICES                                                                                                  TX 75062ATTN: CONTRACT
                                                                                                                                 ADMINISTRATION

2. 283      AGREEMENT TO PROVIDE ASSET                             AOVS1653                 TENASKA POWER SERVICES CO.           300 E JOHN CARPENTER
            MANAGEMENT SERVICES                                                                                                  FREEWAY, SUITE 1100, IRVING,
                                                                                                                                 TX 75062ATTN: CONTRACT
                                                                                                                                 ADMINISTRATION

2. 284      SECURITY CONTACT DESIGNATION                           OTHER1460                TENASKA POWER SERVICES CO.           14302 FNB PARKWAY OMAHA, NE
            FOR TENASKA POWER SERVICES CO                                                                                        68154 USA

2. 285      AMENDED AND RESTATED ELECTRIC                          AOVS1656                 THE BOARD OF WATER, LIGHT AND        1200 VD PARROTT, JR.
            SERVICE AGREEMENT                                                               SINKING FUND COMMISSIONERS OF        PARKWAY,PO BOX 869DALTON,
                                                                                            THE CITY OF DALTON, GA DBA DALTON    GA 30722
                                                                                            UTILITIES

2. 286      2022-05-13 SOFTWARE/SUBSCRIPTION      2023-05-13       AOVS1264                 TORO DATA LABS, INC. DBA BIGEYE      32 MANDALAY PL, SOUTH SAN
            SERVICES - ORDER FORM DATED                                                                                          FRANCISCO, CA 94080
            05/13/2022

2. 287      ORDER FORM DATED 05/13/2022                            AOVS1659                 TORO DATA LABS, INC. DBA BIGEYE      32 MANDALAY PL, SOUTH SAN
                                                                                                                                 FRANCISCO, CA 94080

2. 288      2022-05-13 SOFTWARE/SUBSCRIPTION                       AOVS1265                 TORO DATA LABS, INC. DBA BIGEYE,     32 MANDALAY PL, SOUTH SAN
            SERVICES - SAAS MASTER SOFTWARE                                                 INC.                                 FRANCISCO, CA 94080
            AGREEMENT


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Core Scientific, Inc.                                                                                                          Case Number:             22-90341

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                  Expiration Date   Contract ID   Co-Debtor Name                                 Address



All Other Agreements

2. 289      SAAS MASTER SOFTWARE                                   AOVS1660                 TORO DATA LABS, INC. DBA BIGEYE,    32 MANDALAY PL, SOUTH SAN
            AGREEMENT                                                                       INC.                                FRANCISCO, CA 94080

2. 290      2018-03-01 PAYROLL SERVICES -                          AOVS1267                 TRINET HR III, INC.                 ONE PARK PLACE SUITE
            TRINET TECHNOLOGY SERVICES                                                                                          600DUBLIN, CA 94568
            REQUISITION FORM

2. 291      2022-11-02 PAYROLL SERVICES -                          AOVS1266                 TRINET HR III, INC.                 ONE PARK PLACE SUITE
            TRINET SERVICES AGREEMENT                                                                                           600DUBLIN, CA 94568
            ADDENDUM

2. 292      TRINET SERVICES AGREEMENT                              AOVS1661                 TRINET HR III, INC.                 ONE PARK PLACE SUITE
            ADDENDUM                                                                                                            600DUBLIN, CA 94568

2. 293      TRINET TECHNOLOGY SERVICES                             AOVS1662                 TRINET HR III, INC.                 ONE PARK PLACE SUITE
            REQUISITION FORM                                                                                                    600DUBLIN, CA 94568

2. 294      2022-01-21 PROFESSIONAL SERVICES -    2025-01-21       AOVS1268                 TSC, INC.                           194 BUSINESS PARK DR,
            SERVICE AGREEMENT                                                                                                   RIDGELAND, MS 39157

2. 295      SERVICE AGREEMENT                                      AOVS1663                 TSC, INC.                           194 BUSINESS PARK DR,
                                                                                                                                RIDGELAND, MS 39157

2. 296      2022-06-08 PROFESSIONAL SERVICES -                     AOVS1269                 TWO DEGREES DIVISION OF SLALOM,     PO BOX 101416PASADENA, CA
            STATEMENT OF WORK DATED 06/8/22                                                 LLC                                 91189-1416

2. 297      STATEMENT OF WORK DATED 06/8/22                        AOVS1664                 TWO DEGREES DIVISION OF SLALOM,     PO BOX 101416PASADENA, CA
                                                                                            LLC                                 91189-1416

2. 298      STATEMENT OF WORK                                      AOVS1667                 TWODEGREES DIVISION OF SLALOM,      PO BOX 101416PASADENA, CA
                                                                                            LLC                                 91189-1416

2. 299      BASE CONTRACT FOR SUPPLY OF                            AOVS1668                 TXU ENERGY RETAIL COMPANY LLC       REP CERTIFICATION NO.
            ELECTRICITY                                                                                                         100046555 SIERRA DRIVE 1-W-
                                                                                                                                1IRVING, TX 75039




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Core Scientific, Inc.                                                                                                          Case Number:           22-90341

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                  Expiration Date   Contract ID   Co-Debtor Name                                 Address



All Other Agreements

2. 300      SECURITY PROFESSIONAL SERVICE                          AOVS1669                 UNIVERSAL PROTECTION SERVICE, LP    EIGHT TOWER BRIDGE161
            AGREEMENT                                                                       DBA ALLIED UNIVERSAL SECURITY       WASHINGTON STREET, SUITE
                                                                                            SERVICES                            600CONSHOHOCKEN, PA 19428

2. 301      2022-04-29 PROFESSIONAL SERVICES -                     AOVS1271                 VOLTUS, INC.                        2443 FILMORE ST #380-3427, SAN
            DISTRIBUTED ENERGY RESOURCE                                                                                         FRANCISCO, CA 94115
            AGREEMENT

2. 302      DISTRIBUTED ENERGY RESOURCE                            AOVS1671                 VOLTUS, INC.                        2443 FILMORE ST #380-3427, SAN
            AGREEMENT                                                                                                           FRANCISCO, CA 94115

2. 303      2022-10-04 LEGAL SERVICES -                            AOVS1272                 WEIL, GOTSHAL & MANGES LLP          767 FIFTH AVENUENEW YORK,
            ENGAGEMENT LETTER                                                                                                   NY 10153-0119

2. 304      ENGAGEMENT LETTER                                      AOVS1672                 WEIL, GOTSHAL & MANGES LLP          767 FIFTH AVENUENEW YORK,
                                                                                                                                NY 10153-0119

2. 305      2022-08-24 LEGAL SERVICES -                            AOVS1273                 WILLIAMS & CONNOLLY LLP             680 MAINE AVENUE SW
            ENGAGEMENT LETTER                                                                                                   WASHINGTON DC 20024

2. 306      ENGAGEMENT LETTER                                      AOVS1673                 WILLIAMS & CONNOLLY LLP             680 MAINE AVENUE SW
                                                                                                                                WASHINGTON DC 20024

2. 307      2022-06-01 SOFTWARE/SUBSCRIPTION      2024-05-02       AOVS1274                 WORKDAY, INC.                       6110 STONERIDGE MAIL ROAD,
            SERVICES - ORDER FORM 00356977                                                                                      PLEASANTON, CA 94588

2. 308      ORDER FORM 00356977                                    AOVS1674                 WORKDAY, INC.                       6110 STONERIDGE MAIL ROAD,
                                                                                                                                PLEASANTON, CA 94588

2. 309      2022-03-18 SOFTWARE SERVICES -                         AOVS1275                 WORKIVA INC                         2900 UNIVERSITY BLVD, AMES,
            STATEMENT OF WORK 110421-1600                                                                                       IOWA 50010

2. 310      STATEMENT OF WORK 110421-1600                          AOVS1675                 WORKIVA INC                         2900 UNIVERSITY BLVD, AMES,
                                                                                                                                IOWA 50010

2. 311      2022-09-28 SOFTWARE SERVICES -        2023-09-28       AOVS1276                 WORKIVA INC.                        2900 UNIVERSITY BLVD, AMES,
            STATEMENT OF WORK 091922-10029                                                                                      IOWA 50010


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Core Scientific, Inc.                                                                                       Case Number:          22-90341

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest              Expiration Date   Contract ID   Co-Debtor Name                  Address



All Other Agreements

2. 312      STATEMENT OF WORK 091922-10029                     AOVS1676                 WORKIVA INC.         2900 UNIVERSITY BLVD, AMES,
                                                                                                             IOWA 50010

2. 313      2022-03-23 STAFFING SERVICES -                     AOVS1279                 ZETAMINUSONE, LLC    1250 AVE PONCE DE LEONESTE
            SERVICES AGREEMENT                                                                               301SAN JUAN PR 00907

2. 314      SERVICES AGREEMENT                                 AOVS1680                 ZETAMINUSONE, LLC    1250 AVE PONCE DE LEONESTE
                                                                                                             301SAN JUAN PR 00907

2. 315      SERVICES AGREEMENT                                 AOVS1712                 ZETAMINUSONE, LLC    1250 AVE PONCE DE LEONESTE
                                                                                                             301SAN JUAN PR 00907

2. 316      STATEMENT OF WORK                                  AOVS1713                 ZETAMINUSONE, LLC    1250 AVE PONCE DE LEONESTE
                                                                                                             301SAN JUAN PR 00907




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Core Scientific, Inc.                                                                     Case Number:         22-90341

Schedule G: Executory Contracts and Unexpired Leases

                                                                                          TOTAL NUMBER OF CONTRACTS: 316




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Schedule H: Codebtors                                                                                                                                     

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        FUHGLWRUVSchedules D-G,QFOXGHDOOJXDUDQWRUVDQGFRREOLJRUV,Q&ROXPQLGHQWLI\WKHFUHGLWRUWRZKRPWKHGHEWLVRZHGDQGHDFK
        VFKHGXOHRQZKLFKWKHFUHGLWRULVOLVWHG,IWKHFRGHEWRULVOLDEOHRQDGHEWWRPRUHWKDQRQHFUHGLWRUOLVWHDFKFUHGLWRUVHSDUDWHO\LQ&ROXPQ

         Column 1:&RGHEWRU                                                                               Column 2:&UHGLWRU

                                                                                                                                              Check all schedules
             1DPH                      0DLOLQJDGGUHVV                                                   1DPH
                                                                                                                                              that apply:


        See Attachment H            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBBBBBBB             '
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                                                                            Case 22-90341 Document 461 Filed in TXSB on 02/03/23 Page 88 of 90
                                                                                                         In re Core Scientific, Inc., et al.
                                                                                                        Case Number: 22-90341 (SDTX)
                                                                                                              Schedule H: Codebtors
              Debtor Name                 Debtor's Role                  Address                 City   State    Zip                      Claim Description                  Name of Creditor           Schedule
Core Scientific Acquired Mining LLC (Acquirer of Blockcap, Inc.)                                                                       Convertible notes                                                   D
Core Scientific Acquired Mining LLC     Guarantor      2407 S. Congress Avenue, Ste. E-101      Austin TX       78704          10% Convertible Note due Apr 1, 2025    U.S. Bank National Association      D
Core Scientific Acquired Mining LLC     Guarantor      2407 S. Congress Avenue, Ste. E-101      Austin TX       78704          10% Convertible Note due Apr 19, 2025   U.S. Bank National Association      D

Core Scientific Operating Company (fka Core Scientific, Inc.)                                                                          Convertible notes                                                   D
Core Scientific Operating Company        Guarantor       2407 S. Congress Avenue, Ste. E-101    Austin TX       78704          10% Convertible Note due Apr 1, 2025    U.S. Bank National Association      D
Core Scientific Operating Company        Guarantor       2407 S. Congress Avenue, Ste. E-101    Austin TX       78704          10% Convertible Note due Apr 19, 2025   U.S. Bank National Association      D

American Property Acquisition, LLC                                                                                                     Convertible notes                                                   D
American Property Acquisition, LLC        Guarantor       2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 1, 2025    U.S. Bank National Association      D
American Property Acquisition, LLC        Guarantor       2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 19, 2025   U.S. Bank National Association      D

American Property Acquisitions I, LLC                                                                                                  Convertible notes                                                   D
American Property Acquisitions I, LLC     Guarantor       2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 1, 2025    U.S. Bank National Association      D
American Property Acquisitions I, LLC     Guarantor       2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 19, 2025   U.S. Bank National Association      D

American Property Acquisitions VII, LLC                                                                                                Convertible notes                                                   D
American Property Acquisitions VII, LLC Guarantor         2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 1, 2025    U.S. Bank National Association      D
American Property Acquisitions VII, LLC Guarantor         2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 19, 2025   U.S. Bank National Association      D

Core Scientific Mining LLC                                                                                                             Convertible notes                                                   D
Core Scientific Mining LLC                Guarantor       2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 1, 2025    U.S. Bank National Association      D
Core Scientific Mining LLC                Guarantor       2407 S. Congress Avenue, Ste. E-101   Austin TX       78704          10% Convertible Note due Apr 19, 2025   U.S. Bank National Association      D




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Fill in this information to identify the case:
Debtor Name:              Core Scientific, Inc.

United States Bankruptcy Court for the:                        Southern District of Texas                                                                                                 Check if this is an
                                                                                                                                                                                          amended filing
Case Number (if known):                      22-90341



Official Form 206Sum

Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                           12/15


  Part 1:             Summary of Assets

1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


      1a. Real property:
                                                                                                                                                                                                      $6,921,748
           Copy line 88 from Schedule A/B                        ..................................................................................................................



      1b. Total personal property:
                                                                                                                                                                                                        $175,043
           Copy line 91A from Schedule A/B                           ..............................................................................................................

                                                                                                                                                                                      +
      1c. Total of all property:
                                                                                                                                                                                                      $7,096,791
           Copy line 92 from Schedule A/B                           ...............................................................................................................




  Part 2:             Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                    $657,025,941
  Copy the total dollar amount listed in Column
                                              ..................................................................................................................
                                                  A, Amount of claim, from line 3 of Schedule D


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


      3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                 $0
           Copy the total claims from Part 1 from
                                                ..................................................................................................................
                                                    line 6a of Schedule E/F



      3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                                    $531,413,204
           Copy the total of the amount of claims from
                                                  ..............................................................................................................
                                                          Part 2 from line 6b of Schedule E/F

                                                                                                                                                                                      +
4. Total liabilities
                                                                                                                                                                                                  $1,188,439,144
  Lines 2 + 3a + 3b             ...................................................................................................................................................




                                                                      Page 1 of 1 to Summary of Assets and Liabilities
                    Case 22-90341 Document 461 Filed in TXSB on 02/03/23 Page 90 of 90

 Fill in this information to identify the case and this filing:


             Core Scientific, Inc.
 Debtor Name __________________________________________________________________

                                          Southern
 United States Bankruptcy Court for the: ______________________               Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):     22-90341
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         x
             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         x
             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         x
             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         x
             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         x
             Schedule H: Codebtors (Official Form 206H)
         x
             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    02/03/2023
        Executed on ______________                             /s/ Michael Bros
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Michael Bros
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Senior Vice President of Capital Markets & Acquisitions
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
